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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


  LM GENERAL INSURANCE COMPANY,                            C.A. No.:
  AMERICAN STATES INSURANCE COMPANY,
  LIBERTY MUTUAL FIRE INSURANCE
  COMPANY, LM INSURANCE CORPORATION,
  AND WAUSAU UNDERWRITERS INSURANCE
  COMPANY,

         Plaintiffs,

         vs.

  FOREMOST PHARMACY LLC, 135 JERICHO
  PHARMACY CORP, MEDLINE PLUS
  PHARMACY INC, WELLNESS WORX
  INCORPORATED, WAQAR ALI, MUHAMMED
  HASSAN, SADAF LIAQAT, AHAD SHERAZ,
  AND FERHAN ALI,

         Defendants.


               PLAINTIFFS’ COMPLAINT AND DEMAND FOR JURY TRIAL
        Plaintiffs, LM General Insurance Company, American States Insurance Company, Liberty

 Mutual Fire Insurance Company, LM Insurance Corporation, and Wausau Underwriters Insurance

 Company, (collectively, “Liberty Mutual” and/or “plaintiffs”), by their attorneys, King, Tilden,

 McEttrick & Brink, P.C., allege as follows:

 I.     INTRODUCTION

        1.      Defendants Waqar Ali (“Ali”), Muhammed Hassan (“Hassan”), Sadaf Liaqat

 (“Liaqat”), Ahad Sheraz (“Sheraz”), and Ferhan Ali (“Ferhan”) devised and implemented a

 fraudulent scheme to unlawfully operate pharmacies Foremost Pharmacy LLC (“Foremost”), 135




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 Jericho Pharmacy Corp (“135 Jericho”), Medline Plus Pharmacy Inc, (“Medline”), and Wellness

 Worx Incorporated (“Wellness Worx”) 1 in violation of New York Law.

         2.       The Defendants 2 damaged Liberty Mutual by submitting fraudulent claims through

 Foremost, 135 Jericho, Medline and Wellness Worx (“the pharmacy defendants”) seeking payment

 for pain-relief products, including Lidocaine 5% Ointment, Diclofenac Sodium 3% Gel,

 Cyclobenzaprine 7.5mg tablets, and Tizanidine 4mg tablets (“Pain Products”).

         3.       The Defendants submitted claims to Liberty Mutual under New York’s No-Fault

 laws, which provide insurance coverage to persons (“claimants”) involved in automobile

 accidents.

         4.       New York was an ideal venue for this scheme because claimants are eligible for at

 least $50,000.00 in coverage for necessary medical and pharmacy expenses, and because claimants

 can assign their No-Fault benefits to pharmacies.

         5.       Pharmacies can seek payment directly from the claimant’s insurer, which removes

 claimants from the billing process and keeps them ignorant about the cost of their care.

         6.       Pharmacies are not eligible to collect No-Fault payments if they fail to comply with

 applicable New York state licensing laws.

         7.       Pharmacies are prohibited from billing for unnecessary drugs under New York’s

 No-Fault laws.

         8.       Here, the Defendants billed Liberty Mutual for Pain Products that were medically

 unnecessary—the claimants did not need the Pain Products, and the drugs were ineffective to treat

 musculoskeletal conditions.



 1
  The term “Pharmacy Defendants” means Foremost, 135 Jericho, Medline and Wellness Worx.
 2
  The term “Defendants” means Foremost, 135 Jericho, Medline, Wellness Worx, Ali, Hassan, Liaqat, Sheraz, and
 Ferhan collectively.

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         9.     The Pain Products were ordered for claimants as part of a fraudulent pre-determined

 treatment protocol that required prescriptions for all claimants regardless of medical need.

         10.    The Defendants knew that the Pain Products billed to Liberty Mutual by the

 Pharmacy Defendants were medically unnecessary and ineffective.

         11.    Pharmacies must also comply with a specific schedule of fees when submitting No-

 Fault claims because pharmacy claims are paid using rates that are calculated based on the drug’s

 average wholesale price—a rate that is often many times greater than a drug’s actual acquisition

 cost.

         12.    The defendants secured a steady stream of prescriptions, from two main referral

 sources: Atlantic Medical & Diagnostics, P.C. (“Atlantic Medical”) and Vista Medical, P.C.

 (“Vista Medical”).

         13.    Vista Medical is a new entity, having only filed with the State of New York

 Division of Corporations in July of 2024.

         14.    The Defendants enriched themselves at the expense of patients. The scheme

 generated vast numbers of prescriptions for the Defendants, but the ordering and dispensing of

 unnecessary drugs placed claimants at risk. Pain Products were prescribed and dispensed

 indiscriminately, without regard for actual medical need.

         15.    Overall, the Defendants operated in violation of New York law by dispensing and

 billing for drugs and medications that were prescribed pursuant to unlawful referral arrangements,

 were medically unnecessary, and were excessively charged.

         16.    The Defendants knew that they were ineligible to collect No-Fault payments, yet

 they still created statutory prescribed claim forms (i.e., NF-3 forms and CMS-1500 forms), which




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 falsely certified the pharmacy defendants’ eligibility to collect No-Fault payments under New

 York law.

        17.     Liberty Mutual reasonably relied on the facial validity of the records and bills

 mailed by the Defendants—and the representations contained therein—when making payments on

 the pharmacy defendants’ No-Fault claims.

        18.     The Defendants knew that the No-Fault claims were false and fraudulent because

 the bills and documents submitted to Liberty Mutual in support of the claims misrepresented or

 omitted material facts about the pharmacy defendants’ eligibility to be paid under New York’s No-

 Fault laws.

        19.     The success of the Defendants scheme to defraud relied on the transmission to

 Liberty Mutual, through the U.S. Mail, of invoices, bills, and other No-Fault claim documents

 warranting the Defendants’ eligibility to collect No-Fault payments under New York law.

        20.     All of the acts and omissions of the Defendants described throughout this

 Complaint were undertaken intentionally.

        21.     Liberty Mutual estimates that the Defendants purposely submitted to Liberty

 Mutual a multitude of bills on behalf of the Defendants knowing that none of the bills were

 lawfully compensable under prevailing New York law relative to No-Fault insurance coverage and

 reimbursement eligibility.

        22.     By this Complaint, Liberty Mutual brings this action against the Defendants for: (a)

 violations of the federal Racketeer Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C.

 § 1961, et seq.; (b) common-law fraud; and (c) unjust enrichment.




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        23.     This action seeks actual damages in excess of $364,113.84, which represent No-

 Fault payments that Liberty Mutual was wrongfully induced to make to the Defendants during the

 course of this scheme.

        24.     Liberty Mutual also seeks a declaration pursuant to 28 U.S.C. § 2201 that it is not

 legally obligated to make any further payments to the Defendants (or their agents) in connection

 with any No-Fault claims submitted to Liberty Mutual.

 II.    PARTIES

        A.      PLAINTIFFS

        25.     LM Insurance Corporation and LM General Insurance Company are companies

 duly organized and existing under the laws of the State of Illinois with their principal place of

 business in Boston, Massachusetts. LM Insurance Corporation and LM General Insurance

 Company are authorized to conduct business in the State of New York.

        26.     Liberty Mutual Fire Insurance Company and Wausau Underwriters Insurance

 Company are companies duly organized and existing under the laws of the State of Wisconsin with

 their principal place of business in Boston, Massachusetts. Liberty Mutual Fire Insurance

 Company and Wausau Underwriters Insurance Company are authorized to conduct business in the

 State of New York.

        27.     American States Insurance Company is a company duly organized and existing

 under the laws of the State of Indiana with its principal place of business in Boston, Massachusetts.

 American States Insurance Company is authorized to conduct business in the State of New York.

        B.      DEFENDANTS

                1.        Foremost Pharmacy LLC

        28.     Foremost is a corporation organized under the laws of the State of New York.



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        29.     Foremost became a registered pharmacy in New York on May 17, 2024.

        30.     Foremost is owned and controlled by Ali.

        31.     Foremost’s principal place of business is 7814 Merrick Road, Baldwin, NY 11510.

        32.     Foremost’s activities affect interstate commerce.

        33.     The Defendants scheme required unlawful referrals for topical pain products from

 Atlantic Medical and Vista Medical in violation of New York law.

        34.     Foremost billed for fraudulent pharmacy services in connection with Liberty

 Mutual claimants.

        35.     Foremost dispensed medically unnecessary Pain Products without regard for

 patient care and in disregard of its duties under New York law.

        36.     Foremost’s bills are fraudulent because the pharmacy services were unnecessary

 and prescribed pursuant to a pre-determined treatment protocol designed to maximize the

 Defendants’ profits at the expense of patient safety and well-being.

        37.     Foremost participated in the affairs of the Atlantic Medical and Vista Medical

 enterprises by engaging in an unlawful referral relationship to obtain patients/ Liberty Mutual

 Claimants so Foremost could fraudulently bill Liberty Mutual for unnecessary topical pain

 products and medications.

        38.     Accordingly, Foremost was never eligible to collect No-Fault payments from

 Liberty Mutual under N.Y. Ins. Law § 5102.

                2.     Waqar Ali

        39.     Ali resides in New York.

        40.     Ali owns Foremost.




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        41.     Ali and Foremost participated in a fraudulent billing scheme for medications

 prescribed as part of a pre-determined treatment protocol resulting in unlawful referral and

 kickback arrangements.

        42.     Ali participated in the operation of Atlantic Medical and Vista Medical enterprises

 by dispensing topical pain products and medications pursuant to an unlawful referral arrangement

 during the relevant period and is therefore responsible for the fraudulent pharmacy services billed

 in connection with Liberty Mutual claimants at issue is this Complaint.

                3.     135 Jericho Pharmacy Corp

        43.     135 Jericho is a corporation organized under the laws of the state of New York.

        44.     135 Jericho became a registered pharmacy in New York on June 28, 2021.

        45.     135 Jericho is owned and controlled by Muhammad Hassan and Sadaf Liaqat.

        46.     135 Jericho’s principal place of business is 135 West Jericho Turnpike, Store #3,

 Huntington Station, NY 11746.

        47.     135 Jericho’s activities affect interstate commerce.

        48.     The Defendant’s scheme required unlawful referrals for topical pain products from

 Atlantic Medical in violation of New York law.

        49.     135 Jericho billed for fraudulent pharmacy services in connection with Liberty

 Mutual claimants.

        50.     135 Jericho dispensed medically unnecessary Pain Products without regard for

 patient care and in disregard of its duties under New York law.

        51.     135 Jericho’s bills are fraudulent because the pharmacy services were unnecessary

 and prescribed pursuant to a pre-determined treatment protocol designed to maximize the

 Defendants’ profits at the expense of patient safety and well-being.



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        52.     135 Jericho participated in the affairs of the Atlantic Medical enterprise by

 engaging in an unlawful referral relationship to obtain patients/Liberty Mutual Claimants so 135

 Jericho could fraudulently bill Liberty Mutual for unnecessary topical pain products and

 medications.

        53.     Accordingly, 135 Jericho was never eligible to collect No-Fault payments from

 Liberty Mutual under N.Y. Ins. Law § 5102.

                4.      Muhammad Hassan

        54.     Hassan is a resident of New York.

        55.     Hassan owns 135 Jericho with Liaqat.

        56.     Hassan was the original sole owner of 135 Jericho.

        57.     Hassan, Liaqat and 135 Jericho participated in a fraudulent billing scheme for

 medications prescribed as part of a pre-determined treatment protocol resulting in unlawful referral

 and kickback arrangements.

        58.     Hassan participated in the operation of the Atlantic Medical enterprise by

 dispensing topical pain products and medications pursuant to an unlawful referral arrangement

 during the relevant period and is therefore responsible for the fraudulent pharmacy services billed

 in connection with Liberty Mutual claimants at issue is this Complaint.

                5.      Sadaf Liaqat

        59.     Liaqat is a resident of New York.

        60.     Liaqat owns 135 Jericho with Hassan.

        61.     Liaqat, Hassan and 135 Jericho participated in a fraudulent billing scheme for

 medications prescribed as part of a pre-determined treatment protocol resulting in unlawful referral

 and kickback arrangements.



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        62.     Liaqat participated in the operation of Atlantic Medical enterprise by dispensing

 topical pain products and medications pursuant to an unlawful referral arrangement during the

 relevant period and is therefore responsible for the fraudulent pharmacy services billed in

 connection with Liberty Mutual claimants at issue is this Complaint.

                6.      Medline Plus Pharmacy Inc

        63.     Medline is a corporation organized under the laws of the state of New York.

        64.     Medline became a registered pharmacy in New York on August 12, 2021.

        65.     Medline is owned and controlled by Sheraz.

        66.     Medline’s principal place of business is 444 West Jericho Turnpike, Huntington

 Station, NY 11743.

        67.     Medline’s activities affect interstate commerce.

        68.     The Defendant’s scheme required unlawful referrals for topical pain products from

 Atlantic Medical and Vista Medical in violation of New York law.

        69.     Medline billed for fraudulent pharmacy services in connection with Liberty Mutual

 claimants.

        70.     Medline dispensed medically unnecessary Pain Products without regard for patient

 care and in disregard of its duties under New York law.

        71.     Medline’s bills are fraudulent because the pharmacy services were unnecessary and

 prescribed pursuant to a pre-determined treatment protocol designed to maximize the Defendants’

 profits at the expense of patient safety and well-being.

        72.     Medline participated in the affairs of the Atlantic Medical and Vista Medical

 enterprises by engaging in an unlawful referral relationship to obtain patients/Liberty Mutual




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  Claimants so Medline could fraudulently bill Liberty Mutual for unnecessary topical pain products

  and medications.

         73.     Accordingly, Medline was never eligible to collect No-Fault payments from

  Liberty Mutual under N.Y. Ins. Law § 5102.

                 7.     Ahad Sheraz

         74.     Sheraz is a resident of New York.

         75.     Sheraz owns Medline.

         76.     Sheraz and Medline participated in a fraudulent billing scheme for medications

  prescribed as part of a pre-determined treatment protocol resulting in unlawful referral and

  kickback arrangements.

         77.     Sheraz participated in the operation of Atlantic Medical and Vista Medical

  enterprises by dispensing topical pain products and medications pursuant to an unlawful referral

  arrangement during the relevant period and is therefore responsible for the fraudulent pharmacy

  services billed in connection with Liberty Mutual claimants at issue is this Complaint.

                 8.     Wellness Worx Incorporated

         78.     Wellness Worx is a corporation organized under the laws of the state of New York.

         79.     Wellness Worx became a registered pharmacy in New York on July 31, 2024.

         80.     Wellness Worx is owned and controlled by Ferhan.

         81.     Wellness Worx’s principal place of business is 2087 Wantagh Avenue, Wantagh,

  NY 11793.

         82.     Wellness Worx’s activities affect interstate commerce.

         83.     The Defendant’s scheme required unlawful referrals for topical pain products from

  Atlantic Medical in violation of New York law.



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         84.     Wellness Worx billed for fraudulent pharmacy services in connection with Liberty

  Mutual claimants.

         85.     Wellness Worx dispensed medically unnecessary Pain Products without regard for

  patient care and in disregard of its duties under New York law.

         86.     Wellness Worx’s bills are fraudulent because the pharmacy services were

  unnecessary and prescribed pursuant to a pre-determined treatment protocol designed to maximize

  the Defendants’ profits at the expense of patient safety and well-being.

         87.     Wellness Worx participated in the affairs of the Atlantic Medical enterprise by

  engaging in an unlawful referral relationship to obtain patients/Liberty Mutual Claimants so

  Wellness Worx could fraudulently bill Liberty Mutual for unnecessary topical pain products and

  medications.

         88.     Accordingly, Wellness Worx was never eligible to collect No-Fault payments from

  Liberty Mutual under N.Y. Ins. Law § 5102.

                 9.      Ferhan Ali

         89.     Ferhan is a resident of New York.

         90.     Ferhan is the owner of Wellness Worx.

         91.     Ferhan and Wellness Worx participated in a fraudulent billing scheme for

  medications prescribed as part of a pre-determined treatment protocol resulting in unlawful referral

  and kickback arrangements.

         92.     Ferhan participated in the operation of the Atlantic Medical enterprise by

  dispensing topical pain products and medications pursuant to an unlawful referral arrangement

  during the relevant period and is therefore responsible for the fraudulent pharmacy services billed

  in connection with Liberty Mutual claimants at issue is this Complaint.



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  III.    JURISDICTION AND VENUE

          93.      Subject matter jurisdiction over this action is conferred upon this Court by 28

  U.S.C. § 1331 and § 1332.

          94.      Supplemental jurisdiction over the Plaintiffs’ state law claims is proper under 28

  U.S.C. § 1367.

          95.      Venue is proper under 28 U.SC. § 1391(b)(2) whereas the vast majority of the acts

  known to Liberty Mutual alleged herein were carried out within the Eastern District of New York.

          96.      At all relevant times, the Defendants have engaged in purposeful activities in New

  York by seeking and submitting payment demands for claims made under New York’s No-Fault

  laws, as detailed, infra.

          97.      The Defendants used New York arbitrations and state court litigation to monetize

  their fraud against Liberty Mutual in such a way to essentially finance their fraudulent practices

  with proceeds paid by Liberty Mutual.

          98.      The Defendants pattern of submitting and adjudicating baseless and repetitive

  claims have themselves helped to perpetuate their RICO violations.

          99.      Specifically, the Defendants routinely commence frivolous New York arbitrations

  and/or state court litigation after Liberty Mutual denies their claims to fraudulently obtain No-

  Fault benefits that are used to finance the RICO scheme.

          100.     The Defendants’ activities in and contacts with New York were purposely sought

  and transacted to take advantage of the benefits available under New York’s No-Fault laws.

          101.     As the allegations and causes of action in the within Complaint arise from (a) the

  Defendants’ unlawful acts committed in the State of New York, and (b) the fraudulent billing that

  Defendants generated and submitted from within the State of New York seeking payment under



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  New York’s No-Fault laws, there is no question that there exists a substantial relationship between

  the transactions at issue and Liberty Mutual’s causes of action.

  IV.      NO-FAULT LAWS AND RELEVANT LICENSING STATUTES

           A.     GENERAL OVERVIEW OF NEW YORK’S NO-FAULT LAWS

           102.   Liberty Mutual underwrites automobile insurance in the State of New York.

           103.   New York’s No-Fault laws are designed to ensure that injured victims of

  automobile accidents have an efficient mechanism to pay reasonable fees for necessary healthcare

  services, including prescription drugs.

           104.   Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

  (N.Y. Ins. Law § 5101, et seq.), and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

  § 65, et seq.) (collectively, “the No-Fault laws”), automobile insurers are required to provide

  Personal Injury Protection Benefits (hereinafter, “No-Fault benefits”) to Liberty Mutual claimants.

           105.   Under New York’s No-Fault laws, individuals are entitled to be compensated for

  “basic economic loss” resulting from injuries caused by the operation of an automobile.

           106.   “Basic economic loss” is defined to include “all necessary expenses” for

  prescription drug services. N.Y. Ins. Law § 5102(a)(1); 11 N.Y.C.R.R. § 65-1.1.

           107.   No-Fault benefits include at least $50,000.00 per Liberty Mutual claimant for

  necessary expenses that are incurred for healthcare goods and services, including prescription

  drugs.




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         B.      ELIGIBILITY REQUIREMENTS UNDER NEW YORK’S NO-FAULT LAWS

         108.    Pharmacies are not eligible to collect payment under New York’s No-Fault laws if

  they fail “to meet any applicable New York State or local licensing requirement necessary to

  perform such services in New York.” See 11 N.Y.C.R.R. § 65-3.16(a)(12) (emphasis added).

         109.    New York’s Education Law applies to pharmacies. See N.Y. Educ. Law § 6800, et

  seq.

         110.    Under New York Education Law § 6808, no person, firm, corporation or

  association shall possess drugs, prescriptions or poisons for the purpose of compounding,

  dispensing, retailing, wholesaling or manufacturing, or shall offer drugs, prescriptions or poisons

  for sale at retail or wholesale unless registered by the New York State Department of Education as

  a pharmacy, wholesaler, manufacturer or outsourcing facility.

                 1.     Duties of Pharmacies and Their Owners

         111.    Pharmacy owners and supervising pharmacists “shall be responsible for the proper

  conduct of [the] pharmacy.” N.Y. Educ. Law § 6808(2)(e).

         112.    “No pharmacist shall have personal supervision of more than one pharmacy at the

  same time.” Id.

         113.    Only a licensed pharmacist or pharmacy intern may perform professional pharmacy

  services. See 8 N.Y.C.R.R. § 63.6; 8 N.Y.C.R.R. § 29.7(21).

         114.    Pursuant to 8 N.Y.C.R.R. § 63.6(b)(7), “[p]harmacists or pharmacy interns shall

  conduct a prospective drug review before each prescription is dispensed or delivered to the

  patient,” which “review shall include screening for potential drug therapy problems due to

  therapeutic duplication, drug-drug interactions, including serious interactions with over-the-




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  counter drugs, incorrect drug dosage or duration of drug treatment, drug-allergy interactions, and

  clinical abuse or misuse.”

         115.    With regard to both off-premises and on-premises deliveries of drugs and

  medications, nothing in either delivery scenario “shall prevent a pharmacist or pharmacy intern

  from refusing to dispense a prescription if, in his or her professional judgment, potential adverse

  effects, interactions or other therapeutic complications could endanger the health of the patient.”

  8 N.Y.C.R.R. § 63.6(b)(8)(i)(e), § 63.6(b)(8)(ii)(d)(5).

         116.    For a drug or medication that is delivered on the pharmacy’s premises, before

  dispensing a medication to a new patient or a new medication to an existing patient, the pharmacist

  or pharmacy intern must personally counsel the patient by telephone or in person on appropriate

  matters, including known indications, common adverse side effects or interactions, and therapeutic

  contraindications. 8 N.Y.C.R.R. § 63.6(b)(8)(i)(a)-(b).

         117.    When dispensing a drug or medication to a patient off of pharmacy premises, the

  pharmacist or pharmacy intern must “include with each prescription a written offer to counsel the

  patient” regarding the drug or medication, including its “known indications” and “common severe

  side or adverse effects or interactions and therapeutic contraindications that may be encountered.”

  8 N.Y.C.R.R. § 63.6(b)(8)(i)(a)(1), (4), § 63.6(b)(8)(ii)(a).

         118.    The written offer of counseling for drugs dispensed off of pharmacy premises “shall

  provide a telephone number at which a licensed pharmacist or pharmacy intern may be readily

  reached.” 8 N.Y.C.R.R. § 63.6(b)(8)(ii)(a).

         119.    When dispensing a drug or medication to a patient off of pharmacy premises, if a

  pharmacist or pharmacy intern determines that the prescription(s) present “potential drug therapy

  problems which could endanger the health of the patient,” such as “therapeutic duplications, drug-



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  drug interactions and drug-allergy interactions,” the pharmacist or pharmacy intern “shall

  personally contact the patient” either by phone or in person to “offer counseling on the identified

  potential drug therapy problems” and other issues that the pharmacist or pharmacy intern deems

  appropriate in their judgment. 8 N.Y.C.R.R. § 63.6(b)(8)(ii)(d), (1).

          120.    The responsibility of offering counseling to patients in these situations “shall not

  be delegated to an individual not authorized to practice pharmacy under a license or limited

  permit.” 8 N.Y.C.R.R. § 68.6(b)(8)(ii)(d)(2).

          121.    If the patient refuses to accept counseling, such refusal must be documented. 8

  N.Y.C.R.R. § 63.6(b)(8)(ii)(d)(4).

          122.    An individual who is not a licensed pharmacist is not authorized to perform

  functions requiring professional judgment, and thus cannot “interpret and evaluate a prescription

  for conformance with legal requirements, authenticity, accuracy and interaction of the prescribed

  drug with other known prescribed and over-the-counter drugs,” cannot “sign or initial any record

  of dispensing required to be maintained by law,” and cannot “counsel patients.” 8 N.Y.C.R.R. §

  29.7(a)(21)(ii)(b)(2), (5), (6), (7).

          123.    Aiding and abetting an unlicensed person to practice a profession, including

  pharmacy, is considered a crime. N.Y. Educ. Law § 6512.

                  2.      Unlawful Prescription Referral Arrangements

          124.    New York law prohibits registered pharmacies from exploiting patients for

  financial gain. 8 N.Y.C.R.R. § 29.1(b)(2) (prohibiting registered pharmacies from “exercising

  undue influence on the patient or client, including the promotion of the sale of services, goods,

  appliances or drugs in such manner as to exploit the patient or client for the financial gain of the

  practitioner or of a third party”).



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         125.    New York law prohibits registered pharmacies from engaging in unlawful referral

  relationships. Id. at § 29.1(b)(3) (prohibiting registered pharmacies from “directly or indirectly

  offering, giving, soliciting, or receiving or agreeing to receive, any fee or other consideration to or

  from a third party for the referral of a patient or client or in connection with the performance of

  professional services.”).

         126.    New York Education Law § 6509-a prohibits a professional licensee, including a

  licensed pharmacist, from “directly or indirectly” requesting, receiving, or participating in the

  division, transference, assignment, rebate, splitting or refunding of a fee in connection with

  professional care or services related to drugs and/or medications.

         127.    Likewise, under New York Public Health Law § 238-a, a practitioner may not make

  a referral to a pharmacy where such practitioner has a financial relationship with the pharmacy. A

  financial relationship includes a compensation agreement and includes an arrangement with a

  healthcare provider that is in excess of fair market value or that provides compensation that varies

  directly or indirectly based on the volume or value of any referrals or business between the parties.

  N.Y. Pub. Health Law § 238-a(1), (5); see also N.Y. Educ. Law § 6530(18) (defining professional

  misconduct of physicians and physician assistants to include “[d]irectly or indirectly offering,

  giving, soliciting, or receiving or agreeing to receive, any fee or other consideration to or from a

  third party for the referral of a patient or in connection with the performance of professional

  services”); N.Y. Educ. Law § 6530(38) (defining professional misconduct of physicians and

  physician assistants to include “[e]ntering into an arrangement or agreement with a pharmacy for

  the compounding and/or dispensing of coded or specially marked prescriptions”).

         128.    It is a crime for “[a]ny person to enter into an agreement with a physician…for the

  compounding or dispensing of secret formula (coded) prescriptions.” N.Y. Educ. Law § 6811.



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                 3.      Electronic Prescription Mandate

         129.    New York law requires electronic prescriptions for both controlled and non-

  controlled substances. N.Y. Educ. Law § 6810(10); N.Y. Pub. Health Law § 281(3).

         130.    The electronic prescription mandate was intended to reduce prescription drug fraud

  and misuse. See N.Y. Senate Bill S7637 (2011-2012 Leg. Session) (explaining how “E-prescribing

  is a secure method of transmitting prescriptions from practitioners to pharmacists. Since an e-

  prescription cannot be physically altered, forged, or stolen …, it curtails prescription fraud.”).

         131.    There are few exceptions to the electronic prescription mandate, such as when

  electronic prescribing is not available due to temporary technological or electrical failure, where

  the prescribing provider has obtained a waiver, or where drugs cannot be prescribed electronically

  in a timely manner (and such delay would adversely impact the patient’s medical condition). N.Y.

  Educ. Law § 6810(10); N.Y. Pub. Health Law § 281(3).

         132.    If a prescription is not issued electronically, then the prescribing provider must

  indicate in the patient’s health record the reason that the prescription was not issued electronically.

  N.Y. Educ. Law § 6810(11)-(12).

         133.    If the prescriber has obtained a waiver from the New York Department of Health

  because of “exceptional circumstances,” then the prescriptions must be issued using an Official

  New York State Prescription Form or an oral prescription in accordance with New York law. N.Y.

  Educ. Law § 6810(10)(c); N.Y. Pub. Health Law § 281(3).

         134.    Absent one of these limited exceptions, prescribing providers must prescribe all

  drugs and medications electronically.

         C.      CLAIMING REIMBURSEMENT UNDER NEW YORK’S NO-FAULT LAWS

         135.    Claimants can assign their No-Fault benefits directly to pharmacies.



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           136.   Under a duly executed assignment, a claimant’s pharmacy may submit claims

  directly to an insurance company and receive payment for necessary pharmacy services rendered.

  11 N.Y.C.R.R. § 65.3-11(a).

           137.   Pharmacies can submit claims using the claim form required by the New York State

  Department of Financial Services f/k/a New York State Department of Insurance (“DOI”) (known

  as “Verification of Treatment by Attending Physician or Other Provider of Health Service” or

  more commonly as an “NF-3 form”). 11 N.Y.C.R.R. § 65.3-11(b).

           138.   Alternatively, pharmacies may submit claims to insurance carriers using the Health

  Insurance Claim Form (known as the “CMS-1500” form and formerly known as the “HCFA-1500”

  form).

           139.   NF-3 and CMS-1500 forms are important because they certify that the pharmacy’s

  request for payment is not materially false, misleading, or fraudulent, subject to the following

  warning:

                  “Any person who knowingly and with intent to defraud any
                  insurance company or other persons files an application for
                  insurance or statement of claim containing any materially false
                  information, or conceals for the purpose of misleading, information
                  concerning any fact material thereto, commits a fraudulent
                  insurance act, which is a crime[.]”
  N.Y. Ins. Law § 403(d).

           140.   Pharmacies make material misrepresentations when they submit NF-3 or CMS-

  1500 forms that omit or misrepresent material information about the billed-for services or the

  pharmacies’ eligibility to collect No-Fault payments.

           141.   It is a material misrepresentation to submit NF-3 or CMS-1500 forms for

  prescription drugs that (a) are never provided, (b) are not necessary, (c) are referred to the

  pharmacy pursuant to unlawful arrangements with prescribing providers, (d) are dispensed without


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  required supervision or regard for patient safety and well-being, and/or (e) are billed at a greater

  monetary charge than is permitted under the applicable fee schedule.

           D.     REIMBURSEMENT FOR PRESCRIPTION DRUGS UNDER NEW YORK’S NO-FAULT
                  LAWS

           142.   A pharmacy’s misrepresentations regarding compliance with the applicable fee

  schedule is material because the New York Workers’ Compensation Board has established a

  schedule of fees known commonly as the “Workers’ Compensation Fee Schedule” (“Fee

  Schedule”).

           143.   The Fee Schedule is used by healthcare providers and insurers to determine the

  level of reimbursement payable on legitimate claims.

           144.   The Fee Schedule applicable to pharmacies and prescription drugs is set forth under

  12 N.Y.C.R.R. § 440.1, et seq.

           145.   The NDC is a unique 10-digit or 11-digit, 3-segment numeric identifier assigned to

  each drug that reflects the vendor of the drug, identifies the drug itself, and indicates the quantity

  in which the drug is packaged. Each NDC number has a corresponding AWP, which identifies the

  price.

           146.   AWP means the average wholesale price of a prescription drug as provided in the

  most current release of the Red Book published by Thomson Reuters or Medi-Span Master Drug

  Database by Wolters Kluwer Health, or any successor publisher, on the day a drug is dispensed.

  12 N.Y.C.R.R. § 440.2(a).

           147.   For charges submitted by pharmacies for brand name and generic prescription drugs

  or medicines on or after October 1, 2019, 12 N.Y.C.R.R. § 440.5(a)(1)(ii) states that a provider

  may charge no more than, as applicable here, the lesser of the calculated cost or the usual and

  customary price for the prescription drug or medication.


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            148.   “Calculated cost means the average wholesale price for the national drug code of

  the prescription drug or medicine on the day it was dispensed plus a dispensing fee. For brand

  name drugs the Calculated cost shall be AWP minus twelve percent of the Average Wholesale

  price plus a dispensing fee of four dollars. For generic drugs the Calculated cost shall be AWP

  minus twenty percent plus a dispensing fee of five dollars.” 12 N.Y.C.R.R. § 440.2(c).

            149.   “Usual and customary price means the retail price charged to the general public for

  a prescription drug.” 12 N.Y.C.R.R. § 440.2(s).

            150.   Under New York’s No-Fault Laws, healthcare providers, including pharmacies, are

  prohibited from submitting charges that exceed the amounts set forth in the Fee Schedule.

            151.   Additionally, New York’s No-Fault Laws expressly provide that “[a] provider of

  health care services is not eligible for reimbursement under section 5102(a)(1) of the Insurance

  Law if the provider fails to meet any applicable New York State or local licensing requirement

  necessary to perform such service in New York.” See 11 N.Y.C.R.R. § 65-3.16(a)(12) (emphasis

  added).

            152.   Accordingly, if a professional healthcare service provider, including a pharmacy,

  fails to meet any applicable licensing requirement necessary to perform a service, then the provider

  is not lawfully entitled to seek or collect No-Fault benefits under New York’s No-Fault laws.

            153.   As alleged herein, the Defendants failed to meet several laws and regulations when

  providing pharmacy services to claimants during the course of this scheme; therefore, the

  Pharmacy Defendants were never eligible to collect No-Fault payments from Liberty Mutual.




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  V.     SPECIFIC FACTS ABOUT THE DEFENDANTS’ SCHEME TO DEFRAUD

         A.      NEXUS AMONG THE DEFENDANTS

         154.    Foremost, 135 Jericho, Medline and Wellness all claim to be independently owned

  and operated by independent individuals.

         155.    In reality, all three pharmacies appear to share control of and with each other.

                 1.     Financial and Staff Overlap with Registration Board

         156.    Specifically, in the Initial Application for Registration to the Board of Pharmacy

  Foremost identifies Ali as the sole owner, shareholder and contact person. A true and accurate

  depiction of Ali’s correspondence with the licensing board is below.




         157.    However in that same application, the certification for the requisite shatter proof

  tempered glass includes the receipt which is paid for by Sheraz, with a billing address of Medline.

  A true and accurate depiction of the receipt is below.




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         158.    135 Jericho asserts on its application that it is owned by Sadaf Liaqat. A true and

  accurate depiction of page three of 135 Jericho application is below.




         159.    135 Jericho asserts through its initial application in 2021 that it is owned by

  Muhammed Hassan. A true and accurate depiction of the ownership information supplied on the

  2021 application is depicted below.

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         160.    The renewal application to the New York State Education Department for 135

  Jericho shows the renewal fee was paid by Medline. A true and accurate depiction of the check

  attached to page one of the renewal application is below.




         161.    135 Jericho and Wellness Worx illegally shared a supervising pharmacist in May

  of 2024.

         162.    Below is a true and accurate depiction of the attestation of supervising pharmacy

  for 135 Jericho.




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         163.   There is no documentation that Mr. Greenfield resigned from 135 Jericho.

         164.   In fact, Mr. Greenfield is still, as of April 2025, listed as the supervising pharmacist

  for 135 Jericho. Below is a true and accurate depiction of the New York State Education

  Department website showing Mr. Greenfield as the supervising pharmacist.




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         165.   Within the same May 2024 timeframe, Wellness Worx registered as a pharmacy.

  Below is a true and accurate depiction of the Wellness Worx paperwork with the attestation of the

  supervising pharmacist.




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         166.   Based on the documentation submitted to the NYSED, the two pharmacies illegally

  shared a supervising pharmacist until August 20, 2024. Below is a true and accurate depiction of

  the resignation form from Mr. Paul Greenfield for Wellness Worx.




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          167.    Additionally, in documents obtained from the New York State Education

  Department, Office of Professions, State Board of Pharmacy, Simone Serna a/k/a Simone Avila is

  identified as the person preparing the registration documents for Foremost, Medline, and Wellness

  Worx.

                  2.     Common Biller

          168.    Foremost, 135 Jericho, Medline and Wellness Worx also share the same billing

  company, Tangent-EHR LLC.

          169.    Below is a true and accurate depiction of the billing for Foremost Pharmacy:




          170.    Below is a true and accurate depiction of the billing utilizing Tangent-EHR LLC

  from 135 Jericho:




          171.    Below is a true and accurate depiction of the billing utilizing Tangent-EHR LLC

  from Medline:

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         172.    Below is a true and accurate depiction of the billing utilizing Tangent-EHR LLC

  from Wellness Worx:




                 3.     Common Referring Providers

         173.    The Pharmacy Defendants have overlapping referral providers. The Pharmacy

  defendants all receive referrals from Atlantic Medical, primarily operating out of four addresses

  according to the billing submitted to Liberty Mutual:

         •       107-48 Guy R. Brewer Blvd, Suite 205, Jamaica, New York;

         •       5205 Church Street, Brooklyn, New York;

         •       787 Meacham Ave, Elmont, New York; and

         •       29-16 Linden Blvd, Cambria Heights, New York.

         174.    Foremost and Medline also received prescriptions from Vista Medical, operating

  out of 787 Meacham Ave a shared location with Atlantic Medical.

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                4.      Common Patients

         175.   Foremost Pharmacy and 135 Jericho share multiple patients, despite the two

  pharmacies being over 20 miles apart from each other.

         176.   Claimant M.A. (Claim No. 056519774) received prescriptions on or about June 18,

  2024 from 135 Jericho, a pharmacy that is over 30 miles from M.A.’s residence.

         177.   M.A. then received a subsequent prescription that was delivered on August 1, 2024

  from Foremost, 15.9 miles away from his residence. M.A.’s signature also appears to change

  between pharmacies.

         178.   Below is a true and accurate depiction of the delivery receipts from 135 Jericho and

  Foremost:




         179.   Foremost and 135 Jericho also share Claimant K.H. (Claim No. 057200662).

         180.   K.H. has a delivery receipt for a delivery in June, purportedly delivered to K.H.’s

  residence, 19.4 miles away from Foremost Pharmacy. That delivery receipt is depicted below.


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         181.    In August of 2024, there are two delivery receipts from 135 Jericho to K.H. for

  prescriptions that were delivered a day apart. Those delivery receipts are depicted below.




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         182.    According to the delivery receipt, the August 2024 prescriptions were delivered by

  to K.H at 5205 Church Avenue, Brooklyn NY, 35.8 miles away from the pharmacy.

         183.    K.H. resides approximately 38 miles from 135 Jericho.

         184.    Between the three delivery receipts there also appears to be three different

  signatures.

         185.    G.R. (Claim No. 056945432) started receiving prescriptions from 135 Jericho in

  June of 2024. 135 Jericho submitted delivery receipts for June and July deliveries.

         186.    Foremost submitted billing and a delivery receipt for August of 2024 for G.R.

         187.    Below are true and accurate depictions of the delivery receipts for G.R.:




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          188.     In the side by side comparison of the four delivery receipts, it is clear that there are

  at least two different signatures on the delivery receipts. 3

          B.       OVERVIEW OF THE DEFENDANTS’ SCHEME

          189.     At all relevant times, the Pharmacy Defendants failed to comply with New York

  law governing pharmacies and were not eligible to seek or receive payments under New York’s

  No-Fault laws as a result of the Defendants’ scheme to defraud.

          190.     The overarching purpose of the Defendants’ scheme was to obtain No-Fault

  payments that the Defendants were not entitled to receive for their personal benefit.

          191.     The Defendants achieved this goal by submitting charges for a pre-determined

  treatment protocol of medically unnecessary and expensive drugs and medications, including Pain

  Products.

          192.     The Defendants selected those drugs and medications comprising this pre-

  determined treatment protocol to include those that could be acquired at low cost and then billed

  at inflated rates to maximize the Defendants’ profits.

          193.     As explained below, there is significant evidence that the prescriptions for drugs

  and medications billed by the Defendants to Liberty Mutual under New York’s No-Fault laws were

  funneled to the Defendants pursuant to an unlawful referral relationship with the providers.

          194.     The Defendants devised and executed their scheme knowing that (a) the

  prescriptions were issued pursuant to pre-determined treatment protocols of medically unnecessary

  and ineffective drugs and medications, which elevated profits over genuine patient care, (b) the

  prescriptions were invalid under New York law, (c) the prescriptions were issued in exchange for




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   All redactions have been made in compliance with State and Federal requirements, unredacted versions are available
  for the Court’s review upon request.

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  unlawful kickbacks or other incentives, and (d) the No-Fault claim documents submitted to Liberty

  Mutual falsely represented the Defendants’ eligibility to collect No-Fault payments.

         C.      PREDETERMINED TREATMENT PROTOCOL

         195.    The Defendants’ scheme was designed such that prescribers were limited to a

  predetermined set of drugs and medications; in doing so, the Defendants ensured that these drugs

  and medications were prescribed in all cases, regardless of whether the patients even needed or

  wanted them.

         196.    As a result, the Defendants billed Liberty Mutual for the same recurring set of

  unnecessary, unwarranted, and ineffective Pain Products, including: Lidocaine 5% Ointment,

  Diclofenac Sodium 3% Gel, Cyclobenzaprine 7.5 mg tablets, and Tizanidine 4mg tablets.

         197.    The Defendants focused on billing for these expensive Pain Products even though

  substantially similar products were available as over-the-counter drugs at a fraction of the cost.

         198.    The Defendants intentionally based their fraudulent scheme on steering providers

  to prescribe these specific Pain Products to be billed for by the Defendants, in place of other less

  expensive products, to maximize the amounts collected by the Defendants in violation of New

  York’s No-Fault laws.

         199.    The Defendants used the provider entities to prescribe Lidocaine 5% Ointment,

  Diclofenac Sodium 3% Gel, Cyclobenzaprine 7.5mg tablets, and Tizanidine 4mg tablets, without

  regard for efficacy or patient safety.




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         200.   The chart attached at Exhibit 1 lays bare the Defendants’ disproportionate focus on

  billing for pain products including the following most commonly billed-for Pain Products:


                                  Drug Name                    NDC
                             Lidocaine 5% Ointment         68462-0418-27

                             Lidocaine 5% Ointment         16714-0878-01

                           Diclofenac Sodium 3% Gel        51672-1363-07
                             Cyclobenzaprine 7.5 g         69420-1001-01
                                Tizanidine 4 mg            55111-0180-10
                                Tizanidine 4 mg            16714-0172-01


         201.   The Defendants targeted and selected these particular Pain Products because they

  could be acquired at a low cost and then billed to Liberty Mutual in terms of the drugs’ AWP,

  which allowed the Defendants to realize a substantial profit for every prescription at Liberty

  Mutual’s and the claimants’ expense.

         D.     DEFENDANTS’ UNLAWFUL REFERRAL RELATIONSHIP WITH ATLANTIC
                MEDICAL AND VISTA MEDICAL

         202.   The Defendants’ scheme to defraud required a high volume of facially valid

  prescriptions to permit the Pharmacy Defendants to submit charges for prescription Pain Products.

         203.   To maintain a steady flow of prescriptions for a particular set of expensive Pain

  Products, the Defendants colluded with the healthcare providers at Atlantic Medical and Vista

  Medical, who specialize in No-Fault and had large available patient bases for the Defendants to

  take advantage of to maximize the Pharmacy Defendants’ billing.

         204.   Atlantic Medical and Vista Medical, generated prescriptions for Pain Products in

  accordance with the Defendants’ pre-determined prescription protocol regardless of whether the

  patients needed, or even wanted, the drugs and medications.


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         205.    Upon information and belief, the Defendants paid kickbacks or other incentives to

  Atlantic Medical and Vista Medical employees in exchange for these unlawful prescriptions in

  violation of New York law.

         206.    Atlantic Medical and Vista Medical funneled these prescriptions to the Pharmacy

  Defendants without giving the patients any choice of where to fill the prescriptions.

         207.    These unlawful referral relationships were crucial to the success of the Defendants’

  scheme to defraud and resulted in false and fraudulent charges for medically unnecessary and

  expensive drugs and medications, including Pain Products.

                 1.     Atlantic Medical History of Fraudulent Activity

         208.    Atlantic Medical has a history of being accused of engaging in fraudulent activity

  under New York’s No-Fault laws.

         209.    Atlantic Medical is alleged to be part of a scheme where the P.C is used to funnel

  fraudulent billing to insurance companies for excessive and unnecessary treatment and unlawful

  referrals. See Allstate Ins. Co. v. Jonathan S. Landow M.D et al, No. 1:24-cv-02010-DLI-JRC

  (E.D.N.Y., 2024); United States Automobile Association et al v. Landow M.D. et al, 1:24-cv-

  03471-NRM-MMH (E.D.N.Y., 2024); GEICO v. Landow, M.D., et al, 1:21-cv-01440-NGG-RER;

  Travelers Insurance et al v. Jonathan Landow et al (NY County 656567/2021).

         210.    Treatment of patients at Atlantic Medical also resulted in patients being prescribed

  medication, without even being consulted by the doctors treating them at Atlantic Medical. Id.

         211.    Atlantic Medical was allegedly under the control of one or more non-physicians

  who dictated management and course of treatment. Id.

         212.    There was an unlawful sharing of professional physician fees with non-physicians.

  Id.



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         213.    There was billing for services rendered based on unlawful referral and unnecessary

  healthcare services in violation of New York Law. Id.

                 2.     Depriving Claimants’ Choice of Pharmacy

         214.    Atlantic Medical and Vista Medical ensured that prescriptions were funneled

  directly to the Pharmacy Defendants to bill for the prescribed drugs and medications without

  giving the claimants a choice of pharmacy.

         215.    Claimants received the medications billed to Liberty Mutual by the Pharmacy

  Defendants directly at the No-Fault clinic or through delivery to their homes.

         216.    The Defendants chose to dispense these medications directly to patients because

  the Pharmacy Defendants’ physical locations were not convenient to the majority of its claimants

  who resided outside of the neighborhoods where the Pharmacy Defendants were located.

         217.    The chart below contains a representative sample illustrating the considerable

  distance between Foremost’s physical location in Baldwin, NY and the residences of many of its

  claimants:

                Claimant               Claimant’s Residence         Approximate Miles from
                                                                          Foremost
            C.V. (Claim No.                 Brooklyn, NY                    20.8
               056775057)
            G.R. (Claim No.                 Jamaica, NY                        16.8
               056945432)
             J.P (Claim No.                 Brooklyn, NY                       20.1
              0572353508)
            M.A. (Claim No.               Ozone Park, NY                       15.9
               056519774)
            H.K (Claim No.                  Brooklyn, NY                       19.4
            057200662-01)




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         218.   The chart below contains a representative sample illustrating the considerable

  distance between 135 Jericho’s physical location in Huntington Station, NY and the residence of

  many of its claimants:

                Claimant              Claimant’s Residence        Approximate Miles from
                                                                       135 Jericho
            A.W. (Claim No.               Brooklyn, NY                    37.8
               056666091)
            B.C (Claim No.               Ozone Park, NY                     30.6
               056519774)
            F.H. (Claim No.                Jamaica, NY                      28.2
              0562393301)
            G.R. (Claim No.                Jamaica, NY                      31.4
                05945432)
             J.P. (Claim No               Brooklyn, NY                      34.9
              0572353508


         219.   The chart below contains a representative sample illustrating the considerable

  distance between Medline’s physical location at Huntington, NY and the residence of many of its

  claimants:

                Claimant              Claimant’s Residence        Approximate Miles from
                                                                         Medline
       J.O. (Claim No. 05666091)         Brooklyn, NY                     34.0
             T.F. (Claim No.             Hempstead, NY                    15.4
               056119093)
             D.A. (Claim No.              Brooklyn, NY                      35.8
               056906821)
             A.R. (Claim No.         Springfield Gardens, NY                27.0
               058259289)


         220.   The chart below contains a representative sample illustrating the considerable

  distance between Wellness Worx at its physical location of Wantagh, NY and the residence of

  many of its claimants:




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                 Claimant               Claimant’s Residence          Approximate Miles from
                                                                          Wellness Worx
              M.B. (Claim No.                  Brooklyn, NY                    34.8
              0582611270002)
              D.O. (Claim No.                  Brooklyn, NY                      28.0
                058609325)
              A.A. (Claim No.                Queens Village, NY                  16.6
                056664435)
              A.T. (Claim No.                Queens Village, NY                  17.0
                058062542)
              A.J. (Claim No.                  Glen Oaks, NY                     18.7
                055803738)


         221.     Atlantic Medical and Vista Medical, and the Defendants eliminated any option of

  pharmacy by choosing the Pharmacy Defendants for the patients and immediately filling and

  directly dispensing the drugs and medications to the claimants at the No-Fault clinics or their

  residences.

         E.       UNNECESSARY PAIN PRODUCTS

         222.     The Pharmacy Defendants billed Liberty Mutual for Pain Products, including

  Lidocaine 5% Ointment, Diclofenac Sodium 3% Gel, Cyclobenzaprine 7.5mg tablets,                  and

  Tizanidine 4mg tablets, that were medically unnecessary, not indicated for the treatment of

  musculoskeletal injuries, and/or chosen for their potential reimbursement value over lower-priced

  alternatives available over the counter.

         223.     Pain medications, including topical NSAIDs, lack proven effectiveness for the

  treatment of widespread musculoskeletal pain.

         224.     Pain medications may be indicated where the patient failed a trial of oral

  medications, has specific allergies to certain oral medications, or is incapable of swallowing pills.




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          225.    However, despite no documentation of an intolerance to oral NSAIDs or muscle

  relaxants, the Pharmacy Defendants’ claimants were prescribed both topical and oral NSAIDs to

  treat a diagnosis of musculoskeletal pain.

          226.    The topical Pain Products billed to Liberty Mutual by the Pharmacy Defendants are

  not approved or intended to treat musculoskeletal injuries; rather, they are approved for the

  treatment of superficial pain, skin conditions, or nerve pain.

          227.    Less toxic formulations of topical Lidocaine and Diclofenac are available over the

  counter at significantly lower cost.

          228.    By prescribing and dispensing a predetermined treatment protocol of among the

  most expensive pain medications, the Defendants subjected the patients to unnecessarily high

  concentrations of Pain Products intended to treat conditions other than musculoskeletal pain for

  the purpose of exploiting these patients’ available No-Fault benefits.

                  1.      Unnecessary Lidocaine 5% Ointment

          229.    The Pharmacy Defendants billed Liberty Mutual for Lidocaine 5% Ointment. See

  Exhibit 1.

          230.    Lidocaine 5% Ointment is not a first-line treatment for musculoskeletal pain; rather,

  it is indicated for temporary pain relief for minor burns, skin abrasions, insect bites, and as a topical

  anesthetic.

          231.    Indeed, the product labeling for Lidocaine 5% Ointment indicates that the drug is

  not effective when applied on intact skin, which is because Lidocaine 5% Ointment is incapable

  of sufficiently penetrating intact skin. Even though topical Lidocaine is sometimes used to treat

  neuropathic pain in adults, high concentrations of the drug must be used because topical Lidocaine

  crosses the skin poorly.



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         232.   The patients that were prescribed Lidocaine 5% Ointment billed to Liberty Mutual

  by the Pharmacy Defendants did not have any documented minor skin conditions or true

  neuropathic pain warranting Lidocaine 5% Ointment.

         233.   Moreover, Lidocaine 4% Cream under the brand name Aspercreme is available at

  neighborhood pharmacies at a small fraction of the amount charged by the Pharmacy Defendants

  for the Lidocaine 5% Ointment.

         234.   A true and accurate representation of Aspercreme from an online pharmacy is

  depicted below.




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         235.    The Pharmacy Defendants’ bills for Lidocaine 5% Ointment are fraudulent and

  Liberty Mutual is entitled to recover payments and disclaim coverage in all such claims including,

  but not limited to, the claims listed in Exhibit 1.

         236.    The Pharmacy Defendants were not eligible for No-Fault reimbursement for the

  Lidocaine 5% Ointment billed to Liberty Mutual because this drug was not medically necessary

  or effective in treating the claimants’ musculoskeletal conditions.

         237.    All fraudulent Lidocaine 5% Ointment billed in connection with Liberty Mutual

  claimants traveled through the U.S Mail.




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                 2.        Unnecessary Diclofenac Sodium 3% Gel

         238.    The Defendants billed for massive quantities of Diclofenac Sodium 3% Gel which

  is not effective, approved, or indicated for the topical treatment of musculoskeletal injuries, such

  as those sustained in a motor vehicle accident.

         239.    A true and accurate representation of the FDA approval of Diclofenac Sodium 3%

  Gel is depicted below:




         240.    Diclofenac Sodium 3% Gel is approved for topical treatment of actinic keratoses.

         241.    The use of Diclofenac Sodium 3% Gel in patients without osteoarthritis exposes

  the patients to increased and unnecessary risks for skin irritation, hypersensitivity, and

  photosensitivity.

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         242.    Diclofenac Gel also exists in a 1% concentration; it is an NSAID that may be

  effective in the treatment of pain in the peripheral joints, such as the hand or knee, but it has no

  proven efficacy for pain relief for larger and deeper joints, such as the spine or shoulder, to which

  the gel cannot penetrate.

         243.    Simply because Diclofenac Sodium 3% Gel is more concentrated than Diclofenac

  Sodium 1% Gel does not mean that either are more effective for the treatment of joint pain, for

  which condition Diclofenac Sodium 3% Gel is not indicated.

         244.    Diclofenac Sodium 3% Gel is substantially more toxic topically and systematically

  than Diclofenac Sodium 1% Gel.

         245.    The Fee Schedule calls for reimbursement of Diclofenac Sodium 3% Gel at a much

  higher rate than generic Diclofenac Sodium 1% Gel.

         246.    The generic Diclofenac Sodium 3% Gel billed to Liberty Mutual by the Pharmacy

  Defendants has an AWP of $111.56 per 100 gram package under NDC 51672-1363-07.

         247.    Generic Diclofenac Sodium 1% Gel (NDC No. 69097-0524-44) has an AWP of

  less than $53.00 per 100-gram package.

         248.    Therefore, the Defendants could charge no more than $85.00 for each prescription

  of 200 grams of generic Diclofenac Sodium 1% Gel.

         249.    However, for each prescription of 200 grams of generic Diclofenac Sodium 3%

  Gel, the Defendants could charge over $178.00 under NDC 51672-1363-07.

         250.    In fact, Foremost, 135 Jericho and Medline charged Liberty Mutual $1,887.20 per

  200-gram package under NDC 51672-1363-07.

         251.    Diclofenac Sodium 1% Gel is available over the counter; a 100-gram tube of

  Voltaren Topical 1% Gel may be purchased at retail without a prescription for less than $23.00.



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           252.   A true and accurate representation of Voltaren from an online pharmacy is depicted

  below.




           253.   Accordingly, the Defendants were motivated by profit to ensure that the Referring

  Providers ordered Diclofenac Sodium 3% Gel for their patients instead of the less expensive

  Diclofenac Sodium 1% Gel even though the 3% preparation is neither approved nor effective at

  treating joint pain.


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           254.   The Pharmacy Defendants were not eligible for No-Fault reimbursement for the

  Diclofenac Sodium 3% Gel billed to Liberty Mutual because these drugs were not medically

  necessary or effective in treating the claimants’ musculoskeletal conditions.

           255.   The Defendants induced the Referring Providers to prescribe Diclofenac Sodium

  3% Gel to permit the Defendants to submit inflated and/or excessive charges for this product.

           256.   The Pharmacy Defendants’ bills for Diclofenac Sodium 3% Gel that traveled

  through the U.S. Mail are fraudulent and Liberty Mutual is entitled to recover payments and

  disclaim coverage in all such claims including, but not limited to, the claims listed in Exhibit 1.

                  3.     Unnecessary Cyclobenzaprine

           257.   Cyclobenzaprine is a muscle relaxant intended for short term use to treat muscle

  pain and reduced range of motion caused by muscle spasms. Short term use is defined as 2-3

  weeks.

           258.   Prolonged use of Cyclobenzaprine often requires a weening off period, or the

  patient is at an increased risk of nausea, headache and malaise.

           259.   The Defendants’ predetermined treatment protocol has Liberty Mutual claimants

  prescribed Cyclobenzaprine for months after the date of accident, reducing the risk of efficacy and

  increasing the risk of harmful side effects demonstrating a clear example of profit over patient

  care.

           260.   By prescribing and dispensing a predetermined treatment protocol of among the

  most expensive pain medications, the referring providers and the Defendants subjected the patients

  to unnecessarily high concentrations of Pain Products intended to treat conditions other than

  musculoskeletal pain for the purpose of exploiting these patients’ available No-Fault benefits.




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             261.   The Pharmacy Defendants were not eligible for No-Fault reimbursement for the

  Cyclobenzaprine billed to Liberty Mutual because this drug was not medically necessary or

  effective in treating the claimants’ musculoskeletal conditions.

             262.   The Pharmacy Defendants’ bills for Cyclobenzaprine are fraudulent and Liberty

  Mutual is entitled to recover payments and disclaim coverage in all such claims including, but not

  limited to, the claims listed in Exhibit 1.

             263.   All fraudulent Cyclobenzaprine billed in connection with Liberty Mutual claimants

  traveled through U.S Mail.

                    4.     Unnecessary Tizanidine

             264.    Foremost, 135 Jericho and Medline billed Liberty Mutual for Tizanidine 4mg

  tablets.

             265.   Tizanidine is a short acting drug used to manage spasticity due to multiple sclerosis,

  spinal cord injury, stroke, amyotrophic lateral sclerosis and traumatic brain injury.

             266.   None of the Liberty Mutual claimants who purportedly received Tizanidine from

  Foremost, 135 Jericho and Medline experienced any of these conditions.

             267.   By prescribing and dispensing a predetermined treatment protocol of among the

  most expensive pain medications, the Foremost, 135 Jericho and Medline subjected the patients to

  unnecessarily high concentrations of Pain Products intended to treat conditions other than

  musculoskeletal pain for the purpose of exploiting these patients’ available No-Fault benefits.

             268.   By prescribing unnecessary pain medication, Foremost, 135 Jericho and Medline

  were able to generate a profit, even without inflating their billing.

             269.   Tizanidine is a muscle relaxant designed to relieve muscle spasticity that comes in

  doses of 2 mg, 4 mg or 6 mg.



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           270.   Tizanidine is a short acting drug used to manage spasticity due to multiple sclerosis,

  spinal cord injury, stroke, amyotrophic lateral sclerosis and traumatic brain injury.

           271.   The recommended initial dose is 2 mg and if necessary gradually increased.

  Foremost, 135 Jericho and Medline filled prescriptions almost exclusively for 4 mg to further

  defraud Liberty Mutual.

           272.   A true and accurate copy of a representative invoice from Foremost is depicted

  below.




           273.   A true and accurate copy of a representative invoice from 135 Jericho is depicted

  below.




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           274.   A true and accurate copy of a representative invoice from Medline is depicted

  below.




           275.   Foremost, 135 Jericho, and Medline were not eligible for No-Fault reimbursement

  for the Tizanidine 4mg billed to Liberty Mutual because these drugs were not medically necessary

  or effective in treating the claimants’ musculoskeletal conditions.




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         276.    The claims identified in Exhibit 1 contain extended and dangerous prescriptions for

  Tizanidine for months after the dates of accident.

         277.    All fraudulent Tizanidine billed in connection with Liberty Mutual claimants

  traveled through U.S Mail.

         F.      FAILURE TO LAWFULLY OVERSEE DISPENSING OF DRUGS AND MEDICATIONS

         278.    Nearly all of the Liberty Mutual claimants were prescribed Pain Products.

         279.    Topical Lidocaine, Diclofenac Gel and NSAIDs in general, may cause side-effects,

  including damage to the intestines, the lining of the stomach, internal bleeding and other serious

  medical problems.

         280.    Therefore, when an oral NSAID, such as Cyclobenzaprine, is taken in conjunction

  with a topical NSAID, like Lidocaine, there are certain health risks to the patient.

         281.    Atlantic Medical and Vista Medical prescribed both oral and topical NSAIDs to the

  same patient without properly considering the potentially harmful effects.

         282.    The Pharmacy Defendants dispensed to patients both the oral and topical NSAIDs

  without conducting a proper review to avoid therapeutic duplication presenting a risk to the health

  and safety of the claimants.

         283.    An individual who is not a licensed pharmacist is not authorized to perform

  functions requiring professional judgment, including evaluating prescriptions for drug interactions

  and counseling patients. 8 N.Y.C.R.R. § 29.7(a)(21)(ii)(b)(1), (2), (6), (7).

         284.    The Pharmacy Defendants’ receipts do not identify who delivered the drug or

  medication to the patient.

         285.    Upon information and belief, the Pharmacy Defendants’ patients were not

  personally offered counseling on the issues raised by the prescriptions for both oral and topical



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  NSAIDs, including therapeutic duplication, by a pharmacist or pharmacy intern over the telephone

  or in person before the drugs and medications were delivered to the patients outside of the

  Pharmacy Defendants’ premises.

         286.    In the many instances where delivery receipts were submitted to Liberty Mutual,

  they were completed in an inaccurate manner. Specifically, the receipts neglect to document who

  delivered the prescriptions.

         287.    Additionally, the receipts for claimants that have multiple rounds of prescriptions

  delivered contain inconsistencies in the receipts, which cannot be followed up on since there is no

  information regarding who delivered the prescription.

          288.    A true and accurate sample of a representative delivery receipt is depicted below:




         289.    The Defendants, and Atlantic Medical and Vista Medical disregarded patient safety

  when prescribing, dispensing and delivering duplicative and medically unnecessary topical
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  medications with oral NSAIDs in furtherance of their scheme to prescribe and bill for as many

  drugs and medications as possible.

          290.    The Defendants violated their duty to their patients to identify risks posed by the

  therapeutic duplication of topical and oral NSAIDs and to provide an offer of appropriate

  counseling personally from a licensed pharmacist or pharmacy intern over the telephone or in

  person before the medications were delivered outside of the Defendants’ premises.

          G.      EXCESSIVE CHARGES

                  1.      Lidocaine 5% Ointment

          291.    Medline also exploited the Average Wholesale Price (“AWP”) and Wholesale

  Acquisition Cost (“WAC”) for Lidocaine 5% Ointment, which Medline billed under NDC nos.

  64380-0789-32 and 16714-0878-01.

          292.    The comparison between Lidocaine 5% Ointment and Lidocaine 4% Ointment,

  commonly known as Aspercreme, is shown below.


                  Drug                            NDC                               AWP 4
       Lidocaine 5% Ointment             64380-0789-32                     $8.93/gram
       Lidocaine 5% Ointment             16714-0878-01                     $7.67/gram
       Lidocaine 4% Ointment             41167-0584-00                     $2.61/gram
       (Aspercreme)


          293.    Medline billed $1,787.00 for a 250 gram supply of Lidocaine 5% Ointment under

  NDC No. 64380-0789-32.

          294.    Medline billed $1,534.60 for a 250 gram supply of Lidocaine 5% Ointment under

  NDC No. 16714-0878-01.




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    All references to AWP unit pricing and AWP or WAC package pricing are rounded to the nearest whole cent,
  resulting in an approximate calculation to the nearest cent.

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         295.   Under both NDC nos. 64380-0789-32 and 16714-0787-01, Medline submitted

  billing for 250 grams of Lidocaine, even though the NDCs correspond with drug manufactures

  that supply Lidocaine in amounts of 35.44 grams per unit, meaning that Medline was only

  providing claimants with 248.08 grams.

         296.   As shown above, AWP of a 35.44 gram supply of Lidocaine 5% Ointment sold

  under NDC No. 64380-0789-32 was approximately $316.66.

         297.   Medline could charge approximately $1,773.30 for a 248.08 gram supply of

  Lidocaine 5% Ointment (after application of the 20% reduction required under applicable New

  York law) under NDC No. 64380-0789-32.

         298.   The WAC for Lidocaine 5% Ointment sold under NDC No. 64380-0789-32 is

  $15.00 per 35.44 grams.

         299.   Acquiring Lidocaine 5% Ointment at or around the WAC meant that the

  Defendants realized a profit of over $1,668.00 each time that Medline billed Lidocaine 5%

  Ointment under NDC No. 64380-0789-32.

         300.   As shown above, AWP of a 35.44 gram supply of Lidocaine 5% Ointment sold

  under NDC No. 16714-0878-01 was approximately $271.93.

         301.   Medline could charge approximately $1,522.80 for a 248.08 gram supply of

  Lidocaine 5% Ointment (after application of the 20% reduction required under applicable New

  York law) under NDC No. 16714-0878-01.

         302.   The WAC for Lidocaine 5% Ointment sold under NDC No. 16714-0878-01 is

  $64.58 per 35.44 grams.




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         303.   Acquiring Lidocaine 5% Ointment at or around the WAC meant that the

  Defendants realized a profit of over $1,070.00 each time that Medline billed for Lidocaine 5%

  Ointment under NDC No. 16714-0878-01.

         304.   The Defendants generated substantial profits because they knew that all No-Fault

  claims were priced and paid according to the AWP and that they could acquire the billed-for drugs

  at a cost well below the drugs’ AWP.

         305.   A true and accurate representation of an invoice for Lidocaine 5% Ointment as

  billed to Liberty Mutual for NDC no. 64380-0789-32 for Liberty Mutual claimant D.A., Claim

  No. 056906821, is below.




         306.   A true and accurate representation of an invoice for Lidocaine 5% Ointment as

  billed to Liberty Mutual for NDC 16714-0878-01 for Liberty Mutual claimant S.H., Claim No.

  057584932, is below.




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           307.   Medline generated substantial profits because they knew that all No-Fault claims

  were priced and paid according to the AWP and that they could acquire the billed-for drugs at a

  cost well below the drugs’ AWP.

           308.   Medline also purposefully misrepresented the its fulfillment of the prescriptions by

  submitting billing for 250 grams that were prescribed, when it provided patients with 248.08

  grams.

           309.   All fraudulent Lidocaine 5% Ointment billed in connection with Liberty Mutual

  claimants traveled through U.S Mail.

                  2.     Diclofenac Sodium 3% Gel

           310.   Foremost, 135 Jericho, and Medline also exploited the AWP and WAC for

  Diclofenac Sodium 3% Gel, which Foremost, 135 Jericho, and Medline billed under NDC No.

  51672-1363-07 for Diclofenac Sodium 3% Gel.

           311.   For example, Foremost, 135 Jericho, and Medline billed $1,887.20 for a 200 gram

  supply of Diclofenac Sodium 3% Gel under NDC No. 51672-1363-07.



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         312.   The original published AWP of a 100 gram supply of Diclofenac Sodium 3% Gel

  sold under NDC No. 51672-1363-07 was approximately $1,179.46.

         313.   In or around November 2023, the published AWP of a 100 gram supply of

  Diclofenac Sodium 3% Gel sold under NDC No. 51672-1363-07 was modified to approximately

  $111.56.

         314.   Upon information and belief, all dates of service for the Pharmacy Defendants

  including NDC No. 51672-1363-07 were performed after November 2023.

         315.   A true and accurate example of Foremost billing for NDC No. 51672-1363-07 after

  November 2023 is depicted below:




         316.   A true and accurate example of 135 Jericho billing for NDC No. 51672-1363-07

  after November 2023 is depicted below:




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         317.   A true and accurate example of Medline billing for NDC No. 51672-1363-07 after

  November 2023 is depicted below:




         318.   However, there is no evidence that Diclofenac Sodium 3% Gel and Diclofenac

  Sodium 1% Gel could not have been provided at a fraction of the cost.


                 Drug                         NDC                              AWP
      Diclofenac Sodium 3% Gel       51672-1363-07                    $1.12/gram
      Diclofenac Sodium 1% Gel       50090-6202-00                    $0.31/gram
      (Voltaren)


         319.   Foremost, 135 Jericho, and Medline could charge approximately $178.50 for a 200

  gram supply of Diclofenac Sodium 3% Gel (after application of the 20% reduction required under

  applicable New York law) under NDC No. 51672-1363-07.
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         320.   The WAC for Diclofenac Sodium 3% Gel sold under NDC No. 51672-1363-07 is

  $92.97 per 100 gram.

         321.   Acquiring Diclofenac Sodium 3% Gel at or around the WAC meant that the

  Defendants realized a profit of over $1,701.00 each time that Foremost, 135 Jericho, and Medline

  billed for 200 units of Diclofenac Sodium 3% Gel under NDC No. 51672-1363-07.

         322.   Foremost, 135 Jericho, and Medline generated substantial profits because they

  knew that all No-Fault claims were priced and paid according to the AWP and that they could

  acquire the billed-for drugs at a cost well below the drugs’ AWP.

         323.   A true and accurate representation of an invoice for Diclofenac Sodium 3% Gel as

  billed to Liberty Mutual claimant T.F., Claim No. 056119093, is below:




         324.   The Defendants generated substantial profits because they knew that all No-Fault

  claims were priced and paid according to the AWP and that they could acquire the billed-for drugs

  at a cost well below the drugs’ AWP.

         325.   All fraudulent Diclofenac Sodium 3% Gel billed in connection with Liberty Mutual

  claimants traveled through U.S Mail.

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             H.     BILLING FOR PRESCRIPTIONS NOT DELIVERED

                    1.     Foremost

             326.   Foremost billed liberty mutual for prescriptions that were not delivered to Liberty

  Mutual claimants.

             327.   Foremost submitted three bills for three deliveries of unnecessary pain products to

  Claimant M.B. (Claim No. 058024844). Below is a true and accurate representation of the billing

  submitted for October 18, 2024:




             328.   One month later, Foremost submitted billing for an additional round of unnecessary

  pain products for November 21, 2024. Below is a true and accurate depiction of the November

  billing:




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             329.   Approximately 21 days later Foremost submitting billing for a third delivery of the

  same unnecessary pain products. Below is a true and accurate representation of the December

  billing:




             330.   Claimant M.B. testified during an examination under oath on February 26, 2025.

  During that examination, she testified that she had only received two deliveries of prescriptions.

  Below is a true and accurate depiction of the relevant portion of her testimony:




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         331.    The billing from Foremost for the December delivery is fraudulent and traveled

  through the U.S. Mail.

         332.    All billing for prescriptions that were not delivered to Liberty Mutual claimants is

  fraudulent and traveled through the U.S. Mail.

                 2.        Medline

         333.    Medline billed for prescriptions not delivered to Liberty Mutual claimants.

         334.    Medline submitted billing for four deliveries of Lidocaine 5% Ointment,

  Diclofenac Sodium 2% Gel, and Cyclobenzaprine 7.5mg tablets to Claimant K.T. (Claim No.

  058200897).

         335.    Claimant K.T. did not receive Diclofenac Sodium 2% Gel, or any Diclofenac

  Sodium Gel.

         336.    The first bill was for November 7, 2024. Below is a true and accurate depiction of

  the billing submitted.




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          337.     The delivery receipt is split into two receipts for this delivery, asserting that the

  drugs were delivered to the same person, at the same address but three minutes apart, with

  seemingly different signatures.

          338.     Below are true and accurate representations of the November delivery receipts: 5




          339.     Medline then submitted billing for a December 2024 delivery of the same

  unnecessary pain products. Below is a true and accurate depiction of the December billing.




  5
   All delivery receipts are redacted in accordance with State and Federal Law requirements, unredacted copies are
  available for the courts review upon request.

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         340.    The December billing includes the prescription forms which show that the

  prescription is the same prescription that was ordered in November, with no refills listed on the

  prescription. Below are true and accurate representations of the three prescriptions.




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         341.    The December delivery is also split between two delivery receipts. The delivery

  receipts assert that the prescriptions were delivered at the same time, to the same person, on the

  same day, but show obvious differences in signature.

         342.    Below is a true and accurate representation of the delivery receipts for the

  December delivery:




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         343.    Medline submitted billing for a January 7, 2025 delivery of the same unnecessary

  pain products. Below is a true and accurate representation of the January billing:




         344.    Medline then submitted two different delivery receipts for the January 2025

  delivery. Below is a true and accurate representation of the delivery receipts submitted to Liberty

  Mutual:




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         345.    Medline then submitted billing for unnecessary pain products in February 2025.

  Below is a true and accurate depiction of the February billing:




         346.    In support of the February billing, Medline submitted a single delivery receipt for

  this claimant. Below is a true and accurate depiction of the delivery receipt:




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         347.    The delivery receipt has all the prescriptions on the same form and has a signature

  different than any other signature on the delivery receipts submitted to Liberty Mutual.

         348.    K.T. appeared for an examination under oath on February 14, 2025, just nine days

  after the purported February delivery.

         349.    The claimant testified that he had received “about two, three” deliveries, not the

  four that Medline submitted billing for.

         350.    The claimant testified that his deliveries included one bottle of pills and containers

  of Lidocaine, nothing else. Below is a true and accurate depiction of the relevant portion of the

  claimant’s testimony.




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         351.    All of the billing Medline submitted for this claimant related to Diclofenac Sodium

  2% Gel is fraudulent and traveled through U.S. Mail.

         352.    The billing for the fourth delivery of prescriptions is fraudulent and traveled

  through U.S. Mail.

         353.    All billing by Medline for prescriptions not delivered is fraudulent and traveled

  through the U.S. Mail.

  VI.    SPECIFIC ALLEGATIONS OF MAIL FRAUD RACKETEERING ACTIVITY

         354.    The Defendants (a) created, prepared, and submitted (or caused to be created,

  prepared, and submitted) false No-Fault claim reimbursement documentation, (b) intentionally

  violated the laws of the United States by devising and intending to devise, schemes to defraud and

  obtain money and property using false and fraudulent pretenses and representations, and (c) placed,

  or caused to be placed, in a post office and/or authorized depository for mail matter, things to be

  sent and delivered by the United States Postal Service, in violation of 18 U.S.C. § 1341 (mail

  fraud) to execute, or attempt, such fraudulent schemes.

         355.    Unless otherwise pled to the contrary, all documents, notes, reports, invoices,

  prescription forms, delivery receipts, health insurance claim forms, assignment of benefit forms,

  letters of medical necessity, peer-review rebuttals, other No-Fault claim reimbursement

  documents, letters, and requests for payment in connection with the insurance claims referenced

  throughout this pleading (and accompanying exhibits) traveled through the U.S. Mail.

         356.    Every automobile insurance claim detailed within this Complaint involved at least

  two uses of the U.S. Mail, including the mailing of, among other things, the notice of claim, initial

  policies, insurance payments, claim-related payments, and the return of the canceled payment

  instruments to the financial institution(s) from which the draft(s) were drawn.



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         A.      ATLANTIC MEDICAL ENTERPRISE

         357.    Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz, Wellness Worx and

  Ferhan either personally used (or caused the use of) the U.S. Mail to further this fraudulent scheme

  by causing claimants’ prescription records and treatment records and/or invoices/bills from

  Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz, Wellness Worx and Ferhan to be

  mailed to Liberty Mutual (and/or counsel for claimants) or acted with knowledge that the use of

  the U.S. Mail would follow in the ordinary course of business.

         358.    Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz, Wellness Worx and

  Ferhan caused Foremost, 135 Jericho, Medline and Wellness Worx to falsely certify that they were

  eligible to be reimbursed under New York’s No-Fault Laws each time that Atlantic Medical and/or

  Foremost, 135 Jericho, Medline or Wellness Worx mailed (or was caused to mail) a demand for

  payment (i.e., invoice or bill) to Liberty Mutual.

         359.    Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz, Wellness Worx and

  Ferhan participated in the Atlantic Medical enterprise by fulfilling the unlawful prescriptions.

         360.    Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz, Wellness Worx and

  Ferhan’s participation in the operation and management of the Atlantic Medical enterprise, which

  included, among other things, (a) facilitating unlawful prescriptions between Foremost, 135

  Jericho, Medline and Wellness Worx and Atlantic Medical, (b) dispensing medically unnecessary

  and ineffective drugs and medications to Foremost, 135 Jericho, Medline and Wellness Worx

  patients based on the unlawful Atlantic Medical referrals, and (c) causing Foremost, 135 Jericho,

  Medline and Wellness Worx to submit false and fraudulent No-Fault benefit claims to Liberty

  Mutual based on the unlawful Atlantic Medical referrals, rendered the Pharmacy Defendants

  completely ineligible for No-Faul reimbursement under New York law.



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          361.       As a result of the above-described conduct, Foremost, Ali, 135 Jericho, Hassan,

  Liaqat, Medline, Sheraz, Wellness Worx and Ferhan purposely caused Atlantic Medical to make

  a misrepresentation every time that Atlantic Medical mailed (or was caused to mail) a document

  referring a Liberty Mutual claimant for unnecessary prescription medication to the Pharmacy

  Defendants to Liberty Mutual claiming eligibility for No-Fault reimbursement.

          362.       Moreover, because (a) the Defendants engaged in (or caused) the above-described

  unlawful conduct through their participation in the operation and management of the Atlantic

  Medical enterprise, (b) the Defendants caused Atlantic Medical to make unlawful referrals and

  allowed the Pharmacy Defendants to seek No-Fault reimbursement from Liberty Mutual (even

  though the Pharmacy Defendants were not lawfully entitled to such reimbursement), and (c)

  Atlantic Medical and the Pharmacy Defendants used (or were caused to use) the U.S. Mail to seek

  reimbursement, it is clear that the Defendants committed mail fraud.

          363.       At all relevant times Foremost, Ali, 135 Jericho, Hassan, Liaqat, Medline, Sheraz,

  Wellness Worx and Ferhan knew that Foremost, 135 Jericho, Medline and Wellness Worx used

  (including its employees, owner(s), contractors, and agents) a customer, a claimant, an insurance

  carrier, a claimant’s attorney, other healthcare providers, or Liberty Mutual would use (or be

  caused to use) the U.S. Mail in connection with each of the fraudulent claims, including issuing

  payments based upon the documentation mailed by (or on behalf of) the Pharmacy Defendants

  based on an Atlantic Medical referral.

          364.       Liberty Mutual estimates that the unlawful operation of the Atlantic Medical

  enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

  made in furtherance of this scheme is annexed as Exhibit 2 and incorporated herein as if outlined

  in its entirety.



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         B.      VISTA MEDICAL ENTERPRISE

         365.    Foremost, Ali, Medline and Sheraz either personally used (or caused the use of) the

  U.S. Mail to further this fraudulent scheme by causing claimants’ prescription records and

  treatment records and/or invoices/bills from Foremost, Ali, Medline and Sheraz to be mailed to

  Liberty Mutual (and/or counsel for claimants) or acted with knowledge that the use of the U.S.

  Mail would follow in the ordinary course of business.

         366.    Foremost, Ali, Medline and Sheraz caused Foremost and Medline to falsely certify

  that they were eligible to be reimbursed under New York’s No-Fault Laws each time that Vista

  Medical, Foremost and/or Medline mailed (or was caused to mail) a demand for payment (i.e.,

  invoice or bill) to Liberty Mutual.

         367.    Foremost, Ali, Medline and Sheraz participated in the Vista Medical enterprise by

  fulfilling the unlawful prescriptions.

         368.    Foremost, Ali, Medline and Sheraz’s participation in the operation and

  management of the Vista Medical enterprise, which included, among other things, (a) facilitating

  unlawful prescriptions between Foremost, Medline and Vista Medical, (b) dispensing medically

  unnecessary and ineffective drugs and medications to Foremost and Medline patients based on the

  unlawful Vista Medical referrals, and (c) causing Foremost and Medline to submit false and

  fraudulent No-Fault benefit claims to Liberty Mutual based on the unlawful Vista Medical

  referrals, rendered Foremost and Medline completely ineligible for No-Faul reimbursement under

  New York law.

         369.    As a result of the above-described conduct, Foremost, Ali, Medline and Sheraz

  purposely caused Vista Medical to make a misrepresentation every time that Vista Medical mailed




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  (or was caused to mail) a document referring a Liberty Mutual claimant for prescription medication

  to Foremost and Medline to Liberty Mutual claiming eligibility for No-Fault reimbursement.

          370.       Moreover, because (a) Foremost, Ali, Medline and Sheraz engaged in (or caused)

  the above-described unlawful conduct through their participation in the operation and management

  of the Vista Medical enterprise, (b) Foremost, Ali, Medline and Sheraz caused Vista Medical to

  make unlawful referrals to allow Foremost and Medline to seek No-Fault reimbursement from

  Liberty Mutual (even though Foremost and Medline were not lawfully entitled to such

  reimbursement), and (c) Vista Medical, Foremost and Medline used (or were caused to use) the

  U.S. Mail to seek reimbursement, it is clear that Foremost, Ali, Medline and Sheraz committed

  mail fraud.

          371.       At all relevant times Foremost, Ali, Medline and Sheraz knew that Foremost and

  Medline used (including its employees, owner(s), contractors, and agents) a customer, a claimant,

  an insurance carrier, a claimant’s attorney, other healthcare providers, or Liberty Mutual would

  use (or be caused to use) the U.S. Mail in connection with each of the fraudulent claims, including

  issuing payments based upon the documentation mailed by (or on behalf of) Foremost and Medline

  based on a Vista Medical referral.

          372.       Liberty Mutual estimates that the unlawful operation of the Vista Medical

  enterprise generated a hundreds of mailings. A table highlighting selected examples of mailings

  made in furtherance of this scheme is annexed as Exhibit 2 and incorporated herein as if outlined

  in its entirety.




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  VII.   SPECIFIC ALLEGATIONS OF FRAUDULENT CONCEALMENT AND
         MATERIAL MISREPRESENTATIONS MADE TO AND RELIED UPON BY
         LIBERTY MUTUAL

         A.      ATLANTIC MEDICAL ENTERPRISE

         373.    At all relevant times during the operation of the Atlantic Medical enterprise, the

  Defendants purposely caused the Pharmacy Defendants to falsely certify that they were eligible to

  be reimbursed under New York’s No-Fault Laws to induce Liberty Mutual to promptly pay

  charges related to prescription drugs and other pharmacy services purportedly provided to Liberty

  Mutual claimants who were caused to be customers of the Pharmacy Defendants by Atlantic

  Medical referrals.

         374.    At all relevant times, the Defendants directly participated in the operation and

  management of Atlantic Medical by directing unlawful referrals for prescriptions.

         375.    Because Ali, Hassan, Liaqat and Sheraz was responsible for causing the Pharmacy

  Defendants’ (a) billing Liberty Mutual for drugs that were not medically necessary and were

  completely unjustified to treat the Liberty Mutual claimants’ purported injuries, (b) falsely

  charging for drugs with the knowledge that such drugs were not lawfully reimbursable under New

  York’s No-Fault laws, (c) charging Liberty Mutual for drugs at grossly excessive rates, (d)

  dispensing drugs and medications in violation of applicable regulatory and licensing requirements,

  and/or (e) maintaining unlawful relationships with prescribers and inducing them, through

  financial means or otherwise, to furnish prescriptions for medically unnecessary drugs that were

  to be filled by the Pharmacy Defendants, then the Pharmacy Defendants were caused to falsely

  claim eligibility for No-Fault reimbursement each and every time that the Pharmacy Defendants

  sought No-Fault reimbursement from Liberty Mutual.




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         376.      As alleged above, the Defendants created and submitted to Liberty Mutual No-Fault

  claim reimbursement documents and demands for payment relative to prescription drugs and other

  pharmacy services that were (a) unlawful, (b) fraudulently reported, (c) completely unnecessary,

  (d) falsely charged, and/or (e) not actually provided as represented.

         377.      Such conduct is unlawful, and rendered each such claim non-compensable under

  New York’s No-Fault laws.

         378.      Many of the Defendants’ false, fraudulent, and unlawful acts are not readily evident

  within the documents submitted to Liberty Mutual by the Defendants, and upon which Liberty

  Mutual relied in adjusting the claims and tendering payment in connection with each discrete

  patient claim.

         379.      Claims under New York’s No-Fault laws can only be submitted, and reimbursed,

  for services that were provided in accordance with all applicable New York state licensing

  requirements.

         380.      Thus, every time that Ali, Hassan, Liaqat and Sheraz caused Foremost, 135 Jericho,

  Medline and Wellness Worx to submit No-Fault reimbursement demands to Liberty Mutual, Ali,

  Hassan, Liaqat and Sheraz necessarily certified that Foremost, 135 Jericho, Medline and Wellness

  Worx were eligible to be reimbursed under New York’s No-Fault laws.

         381.      The full extent of Ali, Hassan, Liaqat and Sheraz’s fraudulent and unlawful acts

  relative to their participation in the Atlantic Medical enterprise was not known to Liberty Mutual

  until shortly before it commenced this action.

         B.        VISTA MEDICAL P.C. ENTERPRISE

         382.      At all relevant times during the operation of the Vista Medical enterprise Ali, and

  Sheraz caused Foremost and Medline to falsely certify that they were eligible to be reimbursed



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  under New York’s No-Fault Laws to induce Liberty Mutual to promptly pay charges related to

  prescription drugs and other pharmacy services purportedly provided to Liberty Mutual claimants

  who were caused to be customers of Foremost and Medline by Vista Medical referrals.

         383.    At all relevant times, Foremost, Ali, Medline and Sheraz directly participated in the

  operation and management of Vista Medical by directing unlawful referrals for prescriptions.

         384.    Because Ali and Sheraz were responsible for causing Foremost and Medline’s (a)

  billing Liberty Mutual for drugs that were not medically necessary and were completely unjustified

  to treat the Liberty Mutual claimants’ purported injuries, (b) falsely charging for drugs with the

  knowledge that such drugs were not lawfully reimbursable under New York’s No-Fault laws, (c)

  charging Liberty Mutual for drugs at grossly excessive rates, (d) dispensing drugs and medications

  in violation of applicable regulatory and licensing requirements, and/or (e) maintaining unlawful

  relationships with prescribers and inducing them, through financial means or otherwise, to furnish

  prescriptions for medically unnecessary drugs that were to be filled by Foremost and Medline, then

  Foremost and Medline were caused to falsely claim eligibility for No-Fault reimbursement each

  and every time that Foremost and Medline sought No-Fault reimbursement from Liberty Mutual.

         385.    As alleged above, Ali and Sheraz caused Foremost and Medline to create and

  submit to Liberty Mutual No-Fault claim reimbursement documents and demands for payment

  relative to prescription drugs and other pharmacy services that were (a) unlawful, (b) fraudulently

  reported, (c) completely unnecessary, (d) falsely charged, and/or (e) not actually provided as

  represented.

         386.    Such conduct is unlawful, and rendered each such claim non-compensable under

  New York’s No-Fault laws.




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         387.     Many of the Defendants’ false, fraudulent, and unlawful acts are not readily evident

  within the documents submitted to Liberty Mutual by Foremost, Ali, Medline and Sheraz, and

  upon which Liberty Mutual relied in adjusting the claims and tendering payment in connection

  with each discrete patient claim.

         388.     Claims under New York’s No-Fault laws can only be submitted, and reimbursed,

  for services that were provided in accordance with all applicable New York state licensing

  requirements.

         389.     Thus, every time that Ali and Sheraz caused Foremost and Medline to submit No-

  Fault reimbursement demands to Liberty Mutual, Ali and Sheraz necessarily certified that

  Foremost and Medline were eligible to be reimbursed under New York’s No-Fault laws.

         390.     The full extent of Foremost, Ali, Medline and Sheraz’s fraudulent and unlawful

  acts relative to their participation in the Vista Medical enterprise was not known to Liberty Mutual

  until shortly before it commenced this action.

  VIII. LIBERTY MUTUAL’S JUSTIFIABLE RELIANCE

         391.     Each claim submitted to Liberty Mutual by the Pharmacy Defendants’ were verified

  according to Insurance Law § 403.

         392.     Ali, Hassan, Liaqat, Sheraz and Ferhan, as owners of the Pharmacy Defendants,

  were responsible for the conduct of Foremost, 135 Jericho, Medline and Wellness Worx in

  accordance with New York law.

         393.     To induce Liberty Mutual to promptly pay the Pharmacy Defendants’ patient

  invoices, the Defendants submitted (or caused to be submitted) to Liberty Mutual NF-3 bills

  certifying that the Pharmacy Defendants were eligible to be reimbursed under New York’s No-

  Fault Laws.



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         394.    Further, to induce Liberty Mutual to promptly pay the fraudulent charges for

  prescription drug and other pharmacy services purportedly provided to Liberty Mutual claimants,

  the Defendants hired attorneys to pursue collection of the fraudulent charges from Liberty Mutual.

  These attorneys routinely filed time-consuming and expensive lawsuits and arbitration matters

  against Liberty Mutual.

         395.    Liberty Mutual is under statutory and contractual obligations to promptly and fairly

  process claims within 30 days. The facially valid documents submitted to Liberty Mutual by (or

  on behalf of) the Pharmacy Defendants’ in support of the fraudulent charges at issue, combined

  with the material misrepresentations described above, were designed to, and did, cause Liberty

  Mutual to justifiably rely on them.

         396.    The Defendants concealed from Liberty Mutual the truth regarding the Pharmacy

  Defendants’ reimbursement eligibility under New York law.

         397.    In reasonable reliance on these misrepresentations, Liberty Mutual paid money to

  the Pharmacy Defendants to its detriment.

         398.    Liberty Mutual would not have paid these monies had the Defendants provided true

  and accurate information about the Pharmacy Defendants reimbursement eligibility under New

  York law, including (a) the Pharmacy Defendants’ No-Fault reimbursement eligibility under N.Y.

  Ins. Law § 5101, et seq., and (b) the fact and necessity of the services purportedly provided to

  those Liberty Mutual claimants and customers of the Pharmacy Defendants eligible for insurance

  coverage under an automobile insurance policy issued by Liberty Mutual.

         399.    As a result, Liberty Mutual was caused to pay the Pharmacy Defendants over

  $364,113.84 in reasonable reliance on the Pharmacy Defendants’ false No-Fault claim




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  reimbursement documentation and the Defendants’ false representations regarding the Pharmacy

  Defendants’ eligibility for reimbursement under New York’s No-Fault Laws.

  IX.    DAMAGES

         400.    The Defendants’ pattern of fraudulent conduct injured Liberty Mutual in its

  business and property by reason of the aforesaid violations of state and federal law. Although it

  is not necessary for Liberty Mutual to calculate damages with specificity at this stage in the

  litigation (whereas Liberty Mutual’s damages continue to accrue), Liberty Mutual’s injury

  includes, but is not limited to, compensatory damages for payments in connection with first-party

  claims in excess of $364,113.84, the exact amount to be determined at trial, including:

             a. Payments made to Foremost Pharmacy LLC in connection with first-party claims

                 in excess of $39,903.41, the exact amount to be determined at trial. The chart

                 annexed at Exhibit 3, and incorporated herein as if set forth in its entirely, identifies

                 Liberty Mutual’s payments to Foremost Pharmacy Inc LLC in connection with

                 first-party (“No-Fault”) claims determined to be fraudulent as of the filing of this

                 complaint.

             b. Payments made to 135 Jericho Pharmacy Corp in connection with first-party claims

                 in excess of $53,191.20, the exact amount to be determined at trial. The chart

                 annexed at Exhibit 4, and incorporated herein as if set forth in its entirely, identifies

                 Liberty Mutual’s payments to 135 Jericho Pharmacy Corp in connection with first-

                 party (“No-Fault”) claims determined to be fraudulent as of the filing of this

                 complaint.

             c. Payments made to Medline Plus Pharmacy Inc in connection with first-party claims

                 in excess of $248,240.43, the exact amount to be determined at trial. The chart



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                   annexed at Exhibit 5, and incorporated herein as if set forth in its entirely, identifies

                   Liberty Mutual’s payments to Medline Plus Pharmacy Inc in connection with first-

                   party (“No-Fault”) claims determined to be fraudulent as of the filing of this

                   complaint.

                d. Payments made to Wellness Worx Incorporated in connection with first-party

                   claims in excess of $22,778.80, the exact amount to be determined at trial. The

                   chart annexed at Exhibit 6, and incorporated herein as if set forth in its entirely,

                   identifies Liberty Mutual’s payments to Wellness Worx Incorporated in connection

                   with first-party (“No-Fault”) claims determined to be fraudulent as of the filing of

                   this complaint.

  X.     CAUSES OF ACTION

                             COUNT I
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
           ATLANTIC MEDICAL & DIAGNOSTIC P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, 135 JERICHO PHARMACY CORP,
  MUHAMMAD HASSAN, SADAF LIAQAT, MEDLINE PLUS PHARMACY INC, AHAD
        SHERAZ, WELLNESS WORX INCORPORATED, AND FERHAN ALI)

         401.      Liberty Mutual re-alleges, re-pleads, and incorporates by reference the allegations

  made in paragraphs 1 through 400 as if set forth fully herein.

         402.      In furtherance of their operation and management of Atlantic Medical &

  Diagnostics P.C (“Atlantic Medical”), Defendants, Foremost, Ali, 135 Jericho, Hassan, Liaqat,

  Medline, Sheraz, Wellness Worx and Ferhan (collectively, “Count I Defendants”) intentionally

  prepared and mailed (or caused to be prepared and mailed) false No-Fault claim reimbursement

  documentation in connection with Liberty Mutual insurance claims in furtherance of this scheme

  to defraud.




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         403.    The Count I Defendants employed two or more mailings to demand and/or receive

  payment on certain dates, including, but not limited to, those dates identified in the chart at Exhibit

  2.

         404.    Among other things, NF-3 forms, documents, notes, reports, invoices, prescription

  forms, delivery receipts, health insurance claim forms, assignment of benefit forms, peer-review

  rebuttals, other No-Fault claim reimbursement documents, letters, and/or payment requests were

  routinely delivered to Liberty Mutual through the U.S. Mail.

         405.    Policies of insurance were delivered to two or more Liberty Mutual claimants

  through the U.S. Mail.

         406.    Payments made by Liberty Mutual to the Count I Defendants were delivered

  through the U.S. Mail.

         407.    As documented above, the Count I Defendants repeatedly and intentionally

  submitted, or caused to be submitted, NF-3 forms and other claim-related documentation to Liberty

  Mutual related to Pain Products and other drugs dispensed and delivered by the Count I Defendant

  to collect payment from Liberty Mutual under the Personal Injury Protection benefits portion of

  the Liberty Mutual policies and applicable New York No-Fault laws.

         408.    When the Count I Defendants mailed (or caused the mailing of) NF-3 forms and

  other claim-related documents to Liberty Mutual seeking No-Fault reimbursement, the Count I

  Defendants materially misrepresented the No-Fault reimbursement eligibility under New York

  law.

         409.    As a result of, and in reasonable reliance upon, the mailing and/or submission of

  those misleading documents and materially false representations, Liberty Mutual, by its agents and




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  employees, issued drafts to the Count I Defendants for the benefit of the Count I Defendants that

  would not otherwise have been paid.

         410.    The Count I Defendants’ pattern of preparing and mailing (or causing/directing the

  preparation and mailing of) these documents and other claim-related materials, each appearing

  legitimate on their face, also prevented Liberty Mutual from discovering this scheme for a

  significant period, thus enabling the Count I Defendants to continue this scheme without being

  detected.

         411.    The facts set forth above constitute indictable offenses according to 18 U.S.C. §

  1341 (mail fraud).

         412.    The activities alleged in this case had the direct effect of causing funds to be

  transferred from Liberty Mutual to Atlantic Medical for the benefit of the Count I Defendants.

         413.    Liberty Mutual is in the business of writing insurance and paying claims in the State

  of New York. Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

  Liberty Mutual’s overall financial well-being and adversely affect insurance rates.

         414.    Atlantic Medical constitutes an enterprise engaged in, and the activities of which

  affect, interstate commerce.

         415.    The Count I Defendants associated with the foregoing enterprise, and

  participated—both directly and indirectly—in the conduct of this enterprise through a pattern of

  racketeering activities.

         416.    Liberty Mutual is a “person” as defined by 18 U.S.C. § 1961(3) injured in its

  business or property because of the Count I Defendants’ conduct.

         417.    The Count I Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the direct

  and proximate cause of Liberty Mutual’s injury.



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         418.    Because of the Count I Defendants’ violations of 18 U.S.C. § 1962(c), Liberty

  Mutual is entitled to recover from them three times the damages sustained because of the claims

  submitted by them, and others acting in concert with them, together with the costs of suit, including

  reasonable attorney’s fees.

                             COUNT II
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
           ATLANTIC MEDICAL & DIAGNOSTIC P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, 135 JERICHO PHARMACY CORP,
  MUHAMMAD HASSAN, SADAF LIAQAT, MEDLINE PLUS PHARMACY INC, AHAD
        SHERAZ, WELLNESS WORX INCORPORATED, AND FERHAN ALI)

         419.    Liberty Mutual re-alleges, re-pleads, and incorporates by reference the allegations

  made in paragraphs 1 through 400 as if set forth fully herein.

         420.    In furtherance of their operation and management of Atlantic Medical &

  Diagnostics P.C (“Atlantic Medical”), Defendants, Foremost, Ali, 135 Jericho, Hassan, Liaqat,

  Medline, Sheraz, Wellness Worx and Ferhan (collectively, “Count II Defendants”) intentionally

  prepared and mailed (or caused to be prepared and mailed) false No-Fault claim reimbursement

  documentation in connection with Liberty Mutual insurance claims in furtherance of this scheme

  to defraud.

         421.    The Count II Defendants employed two or more mailings to demand and/or receive

  payment on certain dates, including, but not limited to, those dates identified in the chart at Exhibit

  2.

         422.    Among other things, NF-3 forms, documents, notes, reports, invoices, prescription

  forms, delivery receipts, health insurance claim forms, assignment of benefit forms, peer-review

  rebuttals, other No-Fault claim reimbursement documents, letters, and/or payment requests were

  routinely delivered to Liberty Mutual through the U.S. Mail.




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         423.    Policies of insurance were delivered to two or more Liberty Mutual claimants

  through the U.S. Mail.

         424.    Payments made by Liberty Mutual to the Count II Defendants were delivered

  through the U.S. Mail.

         425.    As documented above, the Count II Defendants repeatedly and intentionally

  submitted, or caused to be submitted, NF-3 forms and other claim-related documentation to Liberty

  Mutual related to Pain Products and other drugs dispensed and delivered by the Count II

  Defendants to collect payment from Liberty Mutual under the Personal Injury Protection benefits

  portion of the Liberty Mutual policies and applicable New York No-Fault laws.

         426.    When the Count II Defendants mailed (or caused the mailing of) NF-3 forms and

  other claim-related documents to Liberty Mutual seeking No-Fault reimbursement, the Count II

  Defendants materially misrepresented the No-Fault reimbursement eligibility under New York

  law.

         427.    As a result of, and in reasonable reliance upon, the mailing and/or submission of

  those misleading documents and materially false representations, Liberty Mutual, by its agents and

  employees, issued drafts to the Count II Defendants for the benefit of one or more of the Count II

  Defendants that would not otherwise have been paid.

         428.    The Count II Defendants’ pattern of preparing and mailing (or causing/directing the

  preparation and mailing of) these documents and other claim-related materials, each appearing

  legitimate on their face, also prevented Liberty Mutual from discovering this scheme for a

  significant period, thus enabling the Count II Defendants to continue this scheme without being

  detected.




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         429.    The facts set forth above constitute indictable offenses according to 18 U.S.C. §

  1341 (mail fraud).

         430.    The activities alleged in this case had the direct effect of causing funds to be

  transferred from Liberty Mutual to Foremost, 135 Jericho, Medline and Wellness Worx for the

  benefit of the Count II Defendants.

         431.    Liberty Mutual is in the business of writing insurance and paying claims in the State

  of New York. Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

  Liberty Mutual’s overall financial well-being and adversely affect insurance rates.

         432.    Atlantic Medical constitutes an enterprise engaged in, and the activities of which

  affect, interstate commerce.

         433.    The Count II Defendants associated with the foregoing enterprise, and

  participated—both directly and indirectly—in the conduct of this enterprise through a pattern of

  racketeering activities.

         434.    Liberty Mutual is a “person” as defined by 18 U.S.C. § 1961(3) injured in its

  business or property because of the Count II Defendants’ conduct.

         435.    The Count II Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the direct

  and proximate cause of Liberty Mutual’s injury.

         436.    Because of the Count II Defendants’ violations of 18 U.S.C. § 1962(c), Liberty

  Mutual is entitled to recover from them three times the damages sustained because of the claims

  submitted by them, and others acting in concert with them, together with the costs of suit, including

  reasonable attorney’s fees.




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                             COUNT III
                   VIOLATIONS OF 18 U.S.C. § 1962(c)
                   VISTA MEDICAL P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, MEDLINE PLUS PHARMACY INC.,
                         AND AHAD SHERAZ)


         437.    Liberty Mutual re-alleges, re-pleads, and incorporates by reference all paragraphs

  set forth above in paragraphs 1 through 400 as if fully set forth herein.

         438.    Through their participation in the operation and management of Vista Medical,

  Defendants, Foremost, Ali, Medline and Sheraz (collectively, “Count III Defendants”) conspired

  with each other to violate 18 U.S.C. § 1962(d).

         439.    The Count III Defendants each agreed to participate in a conspiracy to violate 18

  U.S.C. § 1962(d) by agreeing to conduct the affairs of Atlantic Medical through a pattern of

  racketeering activity, including numerous acts of mail fraud as outlined in Exhibit 2, and through

  the preparation and/or submission of fraudulent insurance claim documents, including NF-3 forms,

  to Liberty Mutual.

         440.    The purpose of the conspiracy was to obtain No-Fault payments from Liberty

  Mutual on behalf of Foremost and Medline, even though Foremost and Medline, as a result of the

  Count III Defendants’ unlawful conduct, were not eligible to collect such No-Fault payments.

         441.    The Count III Defendants were aware of this purpose and agreed to take steps to

  meet the conspiracy’s objectives, including the creation of insurance claim documents containing

  material misrepresentations and/or material omissions.

         442.    Liberty Mutual has been injured in its business and property because of this

  conspiratorial conduct whereas Liberty Mutual has been induced to make No-Fault claim

  payments as a result of the defendants’ unlawful conduct described herein.




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         443.    Because of this violation of 18 U.S.C. § 1962(d), the Count III Defendants are

  jointly and severally liable to Liberty Mutual, and Liberty Mutual is entitled to recover from each

  of the defendants identified three times the damages sustained because of the claims submitted by

  the defendants, and others acting in concert with them, together with the costs of suit, including

  reasonable attorney’s fees.

                             COUNT IV
                   VIOLATIONS OF 18 U.S.C. § 1962(d)
                   VISTA MEDICAL P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, MEDLINE PLUS PHARMACY INC.,
                         AND AHAD SHERAZ)
         444.     Liberty Mutual re-alleges, re-pleads, and incorporates by reference all paragraphs

  set forth above in paragraphs 1 through 400 as if fully set forth herein.

         445.    Through their participation in the operation and management of Vista Medical P.C.,

  Defendants, Foremost, Ali, Medline and Sheraz (collectively, “Count IV Defendants”) conspired

  with each other to violate 18 U.S.C. § 1962(d).

         446.    The Count IV Defendants each agreed to participate in a conspiracy to violate 18

  U.S.C. § 1962(d) by agreeing to conduct the affairs of Vista Medical through a pattern of

  racketeering activity, including numerous acts of mail fraud as outlined in Exhibit 2, and through

  the preparation and/or submission of fraudulent insurance claim documents, including NF-3 forms,

  to Liberty Mutual.

         447.    The purpose of the conspiracy was to obtain No-Fault payments from Liberty

  Mutual on behalf of the Count IV Defendants, even though as a result of the unlawful conduct,

  they were not eligible to collect such No-Fault payments.

         448.    The Count IV Defendants were aware of this purpose and agreed to take steps to

  meet the conspiracy’s objectives, including the creation of insurance claim documents containing

  material misrepresentations and/or material omissions.

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         449.    Liberty Mutual has been injured in its business and property because of this

  conspiratorial conduct whereas Liberty Mutual has been induced to make No-Fault claim

  payments as a result of the defendants’ unlawful conduct described herein.

         450.    Because of this violation of 18 U.S.C. § 1962(d), the Count IV Defendants are

  jointly and severally liable to Liberty Mutual, and Liberty Mutual is entitled to recover from each

  of the defendants identified three times the damages sustained because of the claims submitted by

  the defendants, and others acting in concert with them, together with the costs of suit, including

  reasonable attorney’s fees.

                                            COUNT V
                                      COMMON LAW FRAUD
                                      (Against All Defendants)

         451.    Liberty Mutual re-alleges, re-pleads, and incorporates by reference all paragraphs

  set forth above in paragraphs 1 through 400 as if fully set forth herein.

         452.    The Defendants schemed to defraud Liberty Mutual by, among other things, (a)

  billing Liberty Mutual for drugs that were not medically necessary and were completely unjustified

  to treat the Liberty Mutual claimants’ purported injuries, (b) falsely charging for drugs with the

  knowledge that such drugs were not lawfully reimbursable under New York’s No-Fault laws, (c)

  charging Liberty Mutual for drugs at grossly excessive rates, (d) dispensing drugs and medications

  in violation of applicable regulatory and licensing requirements, and/or (e) maintaining unlawful

  relationships with prescribers and inducing them, through financial means or otherwise, to furnish

  prescriptions for medically unnecessary drugs that were to be filled by the Pharmacy Defendants.

         453.    The Defendants’ scheme to defraud Liberty Mutual was dependent upon a

  succession of material misrepresentations of fact related to the Pharmacy Defendants’ eligibility

  for and entitlement to No-Fault reimbursement under New York law.



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         454.    The misrepresentations of fact by the Defendants included, but were not limited to,

  material misrepresentations of fact made in the Pharmacy Defendants’ NF-3 forms, prescription

  forms, patient treatment records, delivery receipts, health insurance claim forms, other No-Fault

  claim reimbursement documents, letters, and/or payment requests.

         455.    The Defendants’ representations were false or required disclosure of additional

  facts to render the documents, information, and materials furnished not misleading.

         456.    The misrepresentations were intentionally made by the Defendants in furtherance

  of their scheme to defraud Liberty Mutual by submitting claims on behalf of the Pharmacy

  Defendants demanding payment of No-Fault insurance benefits.

         457.    The Defendants knew that the representations contained in the No-Fault claim

  reimbursement documentation relating to Liberty Mutual claimants were false, and were made to

  induce Liberty Mutual to make payments for claims that were not legitimate or lawfully

  compensable.

         458.    Liberty Mutual reasonably relied, to its detriment, upon the Defendants’ material

  misrepresentations concerning the Pharmacy Defendants eligibility to receive No-Fault

  reimbursement in paying numerous bills for prescription drugs and other pharmacy expenses

  according to New York’s No-Fault insurance laws.

         459.    Liberty Mutual’s damages include, but are not necessarily limited to:

             a. Foremost totaling more than $39,903.41—for prescription drug and other

                 pharmacy expenses and services rendered to Liberty Mutual claimants, even though

                 Foremost was, at all relevant times, ineligible to receive No-Fault reimbursement

                 under New York law.




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             b. 135 Jericho totaling more than $53,191.20—for prescription drug and other

                 pharmacy expenses and services rendered to Liberty Mutual claimants, even though

                 135 Jericho was, at all relevant times, ineligible to receive No-Fault reimbursement

                 under New York law.

             c. Medline totaling more than $248,240.43—for prescription drug and other

                 pharmacy expenses and services rendered to Liberty Mutual claimants, even though

                 Medline was, at all relevant times, ineligible to receive No-Fault reimbursement

                 under New York law.

             d. Wellness Worx totaling more than $22,778.80—for prescription drug and other

                 pharmacy expenses and services rendered to Liberty Mutual claimants, even though

                 Wellness Worx was, at all relevant times, ineligible to receive No-Fault

                 reimbursement under New York law.

                                            COUNT VI
                                      UNJUST ENRICHMENT
                                      (Against All Defendants)

         460.    Liberty Mutual re-alleges, re-pleads, and incorporates by reference all paragraphs

  set forth above in paragraphs 1 through 400 as if fully set forth herein.

         461.    As alleged herein, the Defendants, through various means, conspired to induce

  Liberty Mutual to make numerous and substantial payments to the Pharmacy Defendants in

  connection with claims made under New York’s No-Fault Laws.

         462.    When Liberty Mutual paid the Pharmacy Defendants, Liberty Mutual reasonably

  believed that it was legally obligated to make such payments based upon the misrepresentations

  and omissions that the Defendants, or those persons working under their control, made (or were




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  caused to make) concerning the Pharmacy Defendants’ reimbursement eligibility under New

  York’s No-Fault Laws.

         463.    Every No-Fault reimbursement payment that Liberty Mutual was caused to make

  to (or for the benefit of) the Pharmacy Defendants during this scheme constitutes a benefit that the

  Defendants aggressively caused the Pharmacy Defendants to seek and voluntarily accept.

         464.    Throughout their scheme, the Defendants caused the Pharmacy Defendants to

  wrongfully obtain a multitude of payments from Liberty Mutual—totaling over $364,113.84—as

  a direct and proximate result of the unlawful conduct detailed throughout this Complaint.

         465.    Under New York law, the Defendants had no legal right to seek, collect, or retain

  assigned No-Fault benefit payments made by Liberty Mutual in connection with claims submitted

  by (or on behalf of) the Defendants because Foremost, 135 Jericho, Medline, and Wellness Worx

  (a) billed Liberty Mutual for drugs that were not medically necessary and were completely

  unjustified to treat the Liberty Mutual claimants’ purported injuries, (b) falsely charged for drugs

  with the knowledge that such drugs were not lawfully reimbursable under New York’s No-Fault

  laws, (c) charged Liberty Mutual for drugs at grossly excessive rates, (d) dispensed drugs and

  medications in violation of applicable regulatory and licensing requirements, and/or (e) maintained

  unlawful relationships with prescribers and induced them, through financial means or otherwise,

  to furnish prescriptions for medically unnecessary drugs that were to be filled by Foremost, 135

  Jericho, Medline, and Wellness Worx.

         466.    As a direct and proximate result of this unlawful conduct relating to the billing for

  fraudulent, unnecessary, and ineffective drugs with respect to Liberty Mutual claimants, at no point

  were Foremost, 135 Jericho, Medline, and Wellness Worx ever eligible for reimbursement under

  New York’s No-Fault Laws.



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         467.    Throughout this scheme, the Defendants obtained substantial monetary benefits as

  the result of their unlawful conduct, benefits that were derived, in part, directly from the No-Fault

  reimbursement payments that Liberty Mutual was wrongfully induced to make to Foremost, 135

  Jericho, Medline, and Wellness Worx.

         468.    Retention of those benefits by any of the Defendants would violate fundamental

  principles of justice, equity, and good conscience.

                                      COUNT VII
                   DECLARATORY RELIEF UNDER 28 U.S.C. § 2201
   (Against Foremost Pharmacy LLC, 135 Jericho Pharmacy Corp, Medline Plus Pharmacy
                          Inc, and Wellness Worx Incorporated)

         469.    Liberty Mutual re-alleges, re-pleads, and incorporates by reference the allegations

  made in paragraphs 1 through 400 as if set forth fully herein.

         470.    To be eligible to receive assigned No-Fault benefits, an assignee provider of

  healthcare services, including providers of pharmacy services, must adhere to all applicable New

  York statutes that grant the authority to provide healthcare services in New York.

         471.    In view of its (a) billing Liberty Mutual for drugs that were not medically necessary

  and were completely unjustified as a means of treating the Liberty Mutual claimants’ purported

  injuries, (b) falsely charging for drugs with the knowledge that such drugs were not lawfully

  reimbursable under New York’s No-Fault laws, (c) charging Liberty Mutual for drugs at grossly

  excessive rates, (d) dispensing drugs and medications in violation of applicable regulatory and

  licensing requirements, and (e) maintaining unlawful relationships with prescribers and inducing

  them, through financial means or otherwise, to furnish prescriptions for medically unnecessary

  drugs that were to be filled by Foremost, 135 Jericho, Medline and Wellness Worx were, at all

  relevant times, completely ineligible for No-Fault reimbursement under New York law, and thus

  has no standing to submit or receive assigned No-Fault benefits.

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         472.    Foremost, 135 Jericho, Medline, and Wellness Worx continue to submit assigned

  No-Fault claims to Liberty Mutual demanding payment, and other assigned No-Fault claims

  remain pending with Liberty Mutual.

         473.    Foremost, 135 Jericho, Medline, and Wellness Worx continue to challenge Liberty

  Mutual’s prior claim denials.

         474.    Foremost, 135 Jericho, Medline, and Wellness Worx continue to commence legal

  action, including arbitrations filed with the American Arbitration Association, against Liberty

  Mutual seeking payment of No-Fault benefits allegedly due and owing.

         475.    A justifiable controversy exists between Liberty Mutual and Foremost, 135 Jericho,

  Medline, and Wellness Worx because Foremost, 135 Jericho, Medline, and Wellness Worx reject

  Liberty Mutual’s ability to deny such claims.

         476.    Liberty Mutual has no adequate remedy at law.

         477.    Foremost, 135 Jericho, Medline, and Wellness Worx also will continue to bill

  Liberty Mutual for No-Fault Benefit payments absent a declaration by this Court that its activities

  are unlawful, and that Liberty Mutual has no obligation to pay the pending, previously denied,

  and/or future No-Fault claims submitted by Foremost, 135 Jericho, Medline, and Wellness Worx.

         478.    Accordingly, Liberty Mutual requests a judgment according to the Declaratory

  Judgment Act, 28 U.S.C. §§ 2201 and 2202 declaring that (a) that Foremost, 135 Jericho, Medline,

  and Wellness Worx have no standing to seek, collect, or retain any payments made by Liberty

  Mutual in connection with assigned No-Fault benefits, and (b) that Liberty Mutual has no legal

  obligation to make any payment on any unpaid or otherwise pending bills that have been submitted

  to Liberty Mutual by, or on behalf of, Foremost, 135 Jericho, Medline, and Wellness Worx.




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  XI.      DEMAND FOR RELIEF

           WHEREFORE, plaintiffs, LM General Insurance Company, American States Insurance

  Company, Liberty Mutual Fire Insurance Company, LM Insurance Corporation, and Wausau

  Underwriters Insurance Company (collectively, “Liberty Mutual”) respectfully pray that judgment

  enter in their favor, as follows:

                             COUNT I
                    VIOLATIONS OF 18 U.S.C. § 1962(c)
           ATLANTIC MEDICAL & DIAGNOSTIC P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, 135 JERICHO PHARMACY CORP,
  MUHAMMAD HASSAN, SADAF LIAQAT, MEDLINE PLUS PHARMACY INC, AHAD
        SHERAZ, WELLNESS WORX INCORPORATED, AND FERHAN ALI)
        (a) AWARD Liberty Mutual’s actual and consequential damages to be established at trial;

        (b) AWARD Liberty Mutual’s treble damages according to 18 U.S.C. § 1964, interests, costs,

            and attorneys’ fees;

        (c) GRANT injunctive relief enjoining the Count I Defendants from engaging in the wrongful

            conduct alleged in the Complaint; and

        (d) GRANT all other relief this Court deems just.

                             COUNT II
                    VIOLATIONS OF 18 U.S.C. § 1962(d)
           ATLANTIC MEDICAL & DIAGNOSTIC P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, 135 JERICHO PHARMACY CORP,
  MUHAMMAD HASSAN, SADAF LIAQAT, MEDLINE PLUS PHARMACY INC, AHAD
        SHERAZ, WELLNESS WORX INCORPORATED, AND FERHAN ALI)

        (a) AWARD Liberty Mutual’s actual and consequential damages to be established at trial;

        (b) AWARD Liberty Mutual’s treble damages according to 18 U.S.C. § 1964, interests, costs,

           and attorneys’ fees;

        (c) GRANT injunctive relief enjoining the Count II Defendants from engaging in the wrongful

           conduct alleged in the Complaint; and

        (d) GRANT all other relief this Court deems just.

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                            COUNT III
                   VIOLATIONS OF 18 U.S.C. § 1962(c)
                  VISTA MEDICAL P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, MEDLINE PLUS PHARMACY INC,
                        AND AHAD SHERAZ)


    (a) AWARD Liberty Mutual’s actual and consequential damages to be established at trial;

    (b) AWARD Liberty Mutual’s treble damages according to 18 U.S.C. § 1964, interests, costs,

       and attorneys’ fees;

    (c) GRANT injunctive relief enjoining the Count III Defendants from engaging in the

       wrongful conduct alleged in the Complaint; and

    (d) GRANT all other relief this Court deems just.

                             COUNT IV
                   VIOLATIONS OF 18 U.S.C. § 1962(d)
                   VISTA MEDICAL P.C. ENTERPRISE
   (FOREMOST PHARMACY LLC, WAQAR ALI, MEDLINE PLUS PHARMACY INC.,
                         AND AHAD SHERAZ)


    (a) AWARD Liberty Mutual’s actual and consequential damages to be established at trial;

    (b) AWARD Liberty Mutual’s treble damages according to 18 U.S.C. § 1964, interests, costs,

       and attorneys’ fees;

    (c) GRANT injunctive relief enjoining the Count IV Defendants from engaging in the

       wrongful conduct alleged in the Complaint; and

    (d) GRANT all other relief this Court deems just.

                                         COUNT V
                                   COMMON LAW FRAUD
                                   (Against All Defendants)
    (a) AWARD Liberty Mutual’s actual damages in an amount to be determined at trial;

    (b) AWARD Liberty Mutual its costs, including, but not limited to, investigative costs incurred

       in the detection of the Defendants’ illegal conduct;

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    (c) AWARD Liberty Mutual its costs in defending No-Fault collection suits filed by Foremost,

       135 Jericho, Medline and Wellness Worx seeking payment of false and fraudulent invoices;

       and

    (d) GRANT any other relief this Court deems just.

                                          COUNT VI
                                    UNJUST ENRICHMENT
                                    (Against All Defendants)
    (a) AWARD Liberty Mutual’s actual and consequential damages to be determined at trial;

       and

    (b) GRANT any other relief this Court deems just.

                                     COUNT VII
                  DECLARATORY RELIEF UNDER 28 U.S.C. § 2201
  (Against Foremost Pharmacy LLC, 135 Jericho Pharmacy Corp, Medline Plus Pharmacy
                          Inc., Wellness Worx Incorporated )

    (a) DECLARE that Foremost, 135 Jericho, Medline, and Wellness Worx, at all relevant times,

       were caused to be operated in violation of one or more state licensing requirements

       applicable to pharmacies, thus rendering Foremost, 135 Jericho, Medline, and Wellness

       Worx completely ineligible to seek or receive reimbursement under New York’s No-Fault

       laws;

    (b) DECLARE that Foremost Pharmacy LLC, 135 Jericho, Medline, and Wellness Worx’s

       activities were unlawful;

    (c) DECLARE that Liberty Mutual has no obligation to pay any pending, previously-denied,

       and/or future No-Fault insurance claims submitted by Foremost, 135 Jericho, Medline, and

       Wellness Worx; and

    (d) GRANT all other relief this Court deems just and appropriate.




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                                    JURY TRIAL DEMAND

        The plaintiffs demand a trial by jury on all claims.



                                       KING, TILDEN, MCETTRICK & BRINK, P.C.,

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  Dated: May 16, 2025




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